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8                             UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11     THE GEO GROUP, INC.,                               Case No.: 19-CV-2491 JLS (WVG)
12                                       Plaintiff,
                                                          ORDER (1) GRANTING IN PART
13     v.                                                 AND DENYING IN PART
                                                          PLAINTIFFS’ MOTIONS FOR
14     GAVIN C. NEWSOM, in his official
                                                          PRELIMINARY INJUNCTION, AND
       capacity as Governor of the State of
15                                                        (2) GRANTING IN PART AND
       California; XAVIER BECERRA, in his
                                                          DENYING IN PART DEFENDANTS’
16     official capacity as Attorney General of
                                                          MOTIONS TO DISMISS AND FOR
       the State of California,
17                                                        JUDGMENT ON THE PLEADINGS
                                      Defendants.
18
19          AND ALL CONSOLIDATED CASES
20
21           This Order addresses motions concerning the constitutionality of California
22    Assembly Bill 32 (“A.B. 32”) in two consolidated cases: The GEO Group, Inc. v. Newsom,
23    No. 19-CV-2491 JLS (WVG) (S.D. Cal. filed Dec. 30, 2019) (“GEO”), and United States
24    v. Newsom, No. 20-CV-154 JLS (WVG) (S.D. Cal. filed Jan. 24, 2020) (“U.S.”).
25    Specifically before the Court are Plaintiff The GEO Group, Inc.’s (“GEO”), and the United
26    States of America’s Motions for Preliminary Injunction (“GEO Mot.,” GEO ECF No. 15,
27    and “U.S. Mot.,” U.S. ECF No. 8, respectively), as well as Defendants Gavin Newsom and
28    Xavier Becerra’s Motion to Dismiss GEO’s Complaint (“MTD,” GEO ECF Nos. 20, 22)

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1     and Defendants Newsom, Becerra, and the State of California’s Motion for Judgment on
2     the Pleadings of the United States’ Complaint (“MJP,” U.S. ECF No. 13). Also before the
3     Court are briefs of Amici Curiae Immigrant Legal Resource Center, Human Rights Watch,
4     and Freedom for Immigrants (the “Detention Amici”) filed in support of Defendants in both
5     cases (“Detention Amici Br.,” GEO ECF No. 26 & U.S. ECF No. 19), as well as the brief
6     of Amici Curiae Immigrant Defense Advocates and Immigrant Legal Defense (the
7     “Procurement Amici”) filed in support of Defendants in the GEO case (“Procurement Amici
8     Br.,” GEO ECF No. 40). The Court held a hearing on the above-enumerated matters on
9     July 16, 2020.1 See GEO ECF Nos. 43, 48 (“Tr.”); U.S. ECF No. 33. Having carefully
10    considered the Parties’ arguments, pleadings and evidence, and the applicable law, the
11    Court GRANTS IN PART AND DENIES IN PART the GEO and U.S. Motions and
12    GRANTS IN PART AND DENIES IN PART Defendants’ Motions to Dismiss and for
13    Judgment on the Pleadings, as follows.
14                                              BACKGROUND2
15    I.     A.B. 32
16           On December 3, 2018, California Assembly Member Rob Bonta introduced A.B. 32
17    in the California Legislature. GEO ECF No. 1 (“GEO Compl.”) ¶¶ 21, 30. Governor
18    Newsom signed A.B. 32 into law on October 11, 2019. GEO Compl. ¶ 33.
19
      1
20     Because of the COVID-19 pandemic, see, e.g., Order of the Chief Judge No. 24 (S.D. Cal. filed Apr. 17,
      2020); Executive Order N-33-20, Executive Department of the State of California (Mar. 19, 2020), the
21    hearing was held by video and telephone. See GEO ECF No. 42; U.S. ECF No. 32.
22    2
        On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) or a motion for judgment
      on the pleadings pursuant to Federal Rule of Civil Procedure 12(c), the Court may take into account the
23    Parties’ pleadings, any documents physically attached to those pleadings or incorporated by reference
24    therein, and any documents properly subject to judicial notice. See, e.g., Khoja v. Orexigen Therapeutics,
      Inc., 899 F.3d 988, 999 (9th Cir. 2018) (judicial notice and incorporation by reference); Harris v. Cty. of
25    Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (Rule 12(c) motion); Vasquez v. Los Angeles Cty., 487 F.3d
      1246, 1249 (9th Cir. 2007) (Rule 12(b)(6) motion). “Nonetheless, in deciding a motion for preliminary
26    injunction—unlike a motion to dismiss—the Court is not limited solely to the pleadings and may consider
      affidavits or declarations along with other evidence submitted by the parties.” Walker v. Woodford, 454
27    F. Supp. 2d 1007, 1024 (S.D. Cal. 2006) (citing Fed. R. Civ. P. 65; Univ. of Tex. v. Camenisch, 451 U.S.
28    390, 395 (1981); Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1394 (9th Cir.1984)), aff’d, 393 F. App’x
      513 (9th Cir. 2010). The Court is guided by these legal principles in its Analysis. See infra pages 21–69.

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1            A.B. 32 contains three sections. See 2019 Cal. Legis. Serv. Ch. 739 (A.B. 32)
2     (2019). Section 1 generally prohibits the California Department of Corrections and
3     Rehabilitation (“CDCR”) from entering into a new contract, or renewing an existing
4     contract, with a “private, for-profit prison facility located in or outside [California] to
5     provide housing for state prison inmates” after January 1, 2020. See A.B. 32 § 1; Cal.
6     Penal Code § 5003.1(a). There also is an exception allowing California to renew or extend
7     a contract with a private, for-profit detention facility to comply with any court-ordered
8     population cap.3 See A.B. 32 § 1; Cal. Penal Code § 5003.1(e). In its entirety, Section 1
9     of A.B. 32 provides:
10                   (a)    On or after January 1, 2020, [CDCR] shall not enter into a
                            contract with a private, for-profit prison facility located in
11
                            or outside of the state to provide housing for state prison
12                          inmates.
13
                     (b)    On or after January 1, 2020, [CDCR] shall not renew an
14                          existing contract with a private, for-profit prison facility
                            located in or outside of the state to incarcerate state prison
15
                            inmates.
16
                     (c)    After January 1, 2028, a state prison inmate or other
17
                            person under the jurisdiction of [CDCR] shall not be
18                          incarcerated in a private, for-profit prison facility.
19
                     (d)    As used in this section, “private, for-profit prison facility”
20                          does not include a facility that is privately owned, but is
                            leased and operated by [CDCR].
21
22                   (e)    Notwithstanding subdivisions (a) and (b), [CDCR] may
                            renew or extend a contract with a private, for-profit prison
23
                            facility to provide housing for state prison inmates in order
24
25
26    3
        California’s prison system is currently subject to a court-ordered population cap, pursuant to which its
      total population may not exceed 137.5 percent of the prisons’ design capacity. GEO Compl. ¶ 26 (citing
27    Brown v. Plata, 563 U.S. 493 (2011); Coleman v. Brown, 952 F. Supp. 2d 901 (E.D. Cal. 2013)). As of
28    December 1, 2019, California’s prison system was operating at 131.2 percent of design capacity. GEO
      Compl. ¶ 27.

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1                         to comply with the requirements of any court-ordered
                          population cap.
2
3     Cal. Penal Code § 5003.1.
4           Section 2 of A.B. 32 contains several provisions codified at California Penal Code
5     sections 9500 through 9505. See A.B. 32 § 2; Cal. Penal Code §§ 9500–9505. Section
6     9500 defines the terms “[d]etention facility” and “[p]rivate detention facility.”           See
7     generally Cal. Penal Code § 9500. Specifically, the statute defines a “[d]etention facility”
8     as “any facility in which persons are incarcerated or otherwise involuntarily confined for
9     purposes of execution of a punitive sentence imposed by a court or detention pending a
10    trial, hearing, or other judicial or administrative proceeding,” Cal. Penal Code § 9500(a),
11    and a “[p]rivate detention facility” as “a detention facility that is operated by a private,
12    nongovernmental, for-profit entity, and operating pursuant to a contract or agreement with
13    a governmental entity.” Cal. Penal Code § 9500(b).
14          Section 9501 contains a general prohibition on the operation of a private detention
15    facility within the State of California: “Except as otherwise provided in this title, a person
16    shall not operate a private detention facility within the state.” Cal. Penal Code § 9501.
17    This provision is followed by three additional provisions containing exceptions. See Cal.
18    Penal Code §§ 9502, 9503, 9505.
19          Section 9502 excepts several, specific types of facilities, namely:
20                 (a)    Any facility providing rehabilitative, counseling,
                          treatment, mental health, educational, or medical services
21
                          to a juvenile that is under the jurisdiction of the juvenile
22                        court pursuant to Part 1 (commencing with Section 100)
                          of Division 2 of the Welfare and Institutions Code.
23
24                 (b)    Any facility providing evaluation or treatment services to
                          a person who has been detained, or is subject to an order
25
                          of commitment by a court, pursuant to Section 1026, or
26                        pursuant to Division 5 (commencing with Section 5000)
                          or Division 6 (commencing with Section 6000) of the
27
                          Welfare and Institutions Code.
28    ///

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1                  (c)   Any facility providing educational, vocational, medical, or
                         other ancillary services to an inmate in the custody of, and
2
                         under the direct supervision of, the Department of
3                        Corrections and Rehabilitation or a county sheriff or other
                         law enforcement agency.
4
5                  (d)   A residential care facility licensed pursuant to Division 2
                         (commencing with Section 1200) of the Health and Safety
6
                         Code.
7
                   (e)   Any school facility used for the disciplinary detention of a
8
                         pupil.
9
                   (f)   Any facility used for the quarantine or isolation of persons
10
                         for public health reasons pursuant to Division 105
11                       (commencing with Section 120100) of the Health and
                         Safety Code.
12
13                 (g)   Any facility used for the temporary detention of a person
                         detained or arrested by a merchant, private security guard,
14
                         or other private person pursuant to Section 490.5 or 837.
15
16    Cal. Penal Code § 9502.
17          Section 9503 exempts facilities that are leased from private parties but operated by
18    CDCR or another law enforcement agency: “Section 9501 does not apply to any privately
19    owned property or facility that is leased and operated by the [CDCR] or a county sheriff or
20    other law enforcement agency.” Cal. Penal Code § 9503.
21          The last exception, appearing in Section 9505, exempts contracts in existence before
22    January 1, 2020, and contracts renewed pursuant to Section 5003.1(e):
23                 Section 9501 does not apply to either of the following:
24
                   (a)   A private detention facility that is operating pursuant to a
25                       valid contract with a governmental entity that was in effect
                         before January 1, 2020, for the duration of that contract,
26
                         not to include any extensions made to or authorized by that
27                       contract.
28    ///

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1                   (b)    A private detention facility contract renewed pursuant to
                           subdivision (e) of Section 5003.1.
2
3     Cal. Penal Code § 9505.
4            Finally, Section 3 of A.B. 32 contains a severability clause: “The provisions of this
5     act are severable. If any provision of this act or its application is held invalid, that invalidity
6     shall not affect other provisions or applications that can be given effect without the invalid
7     provision or application.” A.B. 32 § 3.
8     II.    Plaintiffs’ Private Detention Facilities in California
9            A.     The United States Bureau of Prisons
10                  1.     Detention Facilities
11           The United States Bureau of Prisons (“BOP”) is a sub-agency of the United States
12    Department of Justice (“DOJ”) that is overseen by the United States Attorney General.
13    U.S. ECF No. 1 (“U.S. Compl.”) ¶¶ 6, 14. BOP has the authority and responsibility to
14    “‘designate the place of . . . imprisonment’ for persons sentenced to imprisonment,” id.
15    ¶ 15 (citing 18 U.S.C. §§ 3621, 4042), and “may designate” as a place of confinement “any
16    available penal or correctional facility that meets minimum standards of health and
17    habitability established by [BOP], whether maintained by the Federal Government or
18    otherwise.” Id. (quoting 18 U.S.C. § 3621(b)).
19           Nationwide, BOP houses nearly 25,000, or approximately 14 percent, of its over
20    175,000 inmates in private detention facilities. Id. ¶ 40. Roughly the same proportion of
21    BOP’s 16,000 inmates in California are also housed in private detention facilities. Id.
22           BOP owns one detention facility in California, Taft Correctional Institute (“Taft”),
23    that is privately operated. Id. ¶ 41. Taft houses 1,300 inmates. Id. ¶ 42. BOP’s contract
24    for the private operation of Taft was due to expire in March 2020. Id. ¶ 41. BOP considered
25    not renewing the contract because of infrastructure issues at Taft, although BOP may seek
26    to award a new contract if it determines that Taft could remain open while repairs are being
27    made. Id. Although BOP currently does not have plans to contract with other private
28    facilities in California, it may in the future depending on its needs. Id. ¶ 43.

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1                   2.     Residential Reentry Centers
2            Congress also expressly has provided that a federal prisoner may serve a limited
3     portion of his or her sentence “under conditions that will afford that prisoner a reasonable
4     opportunity to adjust to and prepare for the reentry of that prisoner into the community,”
5     including in a community correctional facility. U.S. Compl. ¶ 17 (quoting 18 U.S.C.
6     § 3624(c)) (citing 18 U.S.C. §§ 3563(b)(10)–(11)). Congress expanded BOP’s use of
7     Residential Reentry Centers (“RRCs”) through the First Step Act of 2018, which authorizes
8     extended placement in RRCs of inmates who have earned time credits under the risk-and-
9     needs-assessment system. U.S. Compl. ¶ 47. BOP therefore anticipates that the need for
10    RRCs in California will increase significantly over the next few years. Id.
11           Currently, BOP contracts with four private contractors to operate ten RRCs located
12    throughout California that house and supervise approximately 900 inmates. 4 Id. ¶ 44.
13    These RRCs supervise inmates on home confinement and also provide assistance to
14    inmates who are nearing release by providing a supervised environment and several
15    programs, including employment counseling, job placement, and financial management
16    assistance. Id. Current contracts expire between March 2020 and February 2021, or, if all
17    option periods are exercised, as they usually are, between March 2021 and January 2030.
18    Id. ¶ 45.
19           BOP also has one open solicitation and one solicitation it would like to open for
20    additional RRCs in San Francisco and San Diego, respectively. Id. ¶ 46. The anticipated
21    performance dates are in 2021. Id.
22           Finally, BOP maintains about 15 to 20 percent of available beds in RRCs nationally
23    for use by federal courts as an intermediate sanction during supervision or probation,
24    although these individuals are not in BOP custody. Id. ¶ 48.
25    ///
26
27
      4
28     One RRC is located in each of Riverside, Oakland, San Francisco, San Diego, Garden Grove, El Monte,
      Brawley, and Van Nuys, and two are in Los Angeles.

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1           B.     The United States Marshals Service
2           The United States Marshals Service (“USMS”) is an agency within the DOJ under
3     the supervision of the Attorney General. GEO Compl. ¶ 34 (citing 28 U.S.C. § 561(a));
4     U.S. Compl. ¶¶ 6, 14. Congress has authorized the Attorney General to provide for “the
5     housing, care, and security of persons held in custody of a United States marshal pursuant
6     to Federal law under agreements with State or local units of government or contracts with
7     private entities.” GEO Compl. ¶ 35 (quoting 18 U.S.C. § 4013(a)(3)); see also U.S. Compl.
8     ¶ 16 (quoting 18 U.S.C. § 4013(a)). “[T]he Marshals Service does not own or operate
9     detention facilities but partners with state and local governments using intergovernmental
10    agreements to house prisoners. Additionally, the agency houses prisoners in Federal
11    Bureau of Prisons facilities and private detention facilities.” GEO Compl. ¶ 27 (quoting
12    U.S. Marshals Serv., Fact Sheet: Prisoner Operations 2 (2019), https://bit.ly/2Yi5RED).
13    USMS is authorized to “designate districts that need additional support from private
14    detention entities.” U.S. Compl. ¶ 16 (quoting 18 U.S.C. § 4013(c)) (citing 28 C.F.R.
15    § 0.111(k); 28 C.F.R. § 0.111(o)).
16          The average daily population (“ADP”) of USMS detainees has increased “at an
17    unprecedented rate” since April 2017. GEO Compl. ¶ 39 (quoting U.S. Marshals Serv.,
18    FY 2020 Performance Budget President’s Budget: Federal Prisoner Detention
19    Appropriation 2 (2019), https://bit.ly/2SnzdAx [hereinafter, “USMS 2020 Budget”]). The
20    “[p]opulation increases from 2017 through 2019 have already created a significant strain
21    on USMS resources during FY 2019,” id. (quoting USMS 2020 Budget at 30), and the
22    USMS estimates that, in Fiscal Year 2020, it will have an average daily population of
23    62,159 detainees, which is the highest level in more than a decade. Id. (citing USMS 2020
24    Budget at 4). Based on current prosecutorial trends, USMS anticipates that the detention
25    population in California will increase by approximately 25 percent by Fiscal Year 2023.
26    U.S. Compl. ¶ 31.
27          Nationwide, USMS houses approximately 62,000 inmates, over 21,000 of whom (or
28    approximately 34 percent) are housed in private detention facilities. Id. ¶ 28; see also GEO

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1     Compl. ¶ 41 (citing USMS 2020 Budget at 19). In California, USMS houses approximately
2     1,100 of its 5,000 inmates (or approximately 22 percent) in private detention facilities.
3     U.S. Compl. ¶ 28. Because all the private USMS facilities contracted in California are
4     located in the Southern District of California, id., that percentage is even higher in this
5     District, where 37.5 percent of USMS’s detention facilities were privately run as of the end
6     of 2019. See GEO Compl. ¶ 41. Approximately 1,100 of the approximately 2,900 USMS
7     inmates in this District are housed in private detention facilities, with an additional 450
8     inmates housed outside of California because of the unavailability of detention space in the
9     state. U.S. Compl. ¶ 28.
10                 1.    USMS’s San Diego Facilities
11          There are currently only two USMS facilities located in San Diego, California. GEO
12    Compl. ¶ 47. One, Metropolitan Correction Center (“MCC”), is a BOP facility with an
13    ADP of 779 detainees as of April 2019. Id. (citing U.S. Marshals Serv., USMS Detention
14    Population 2 (Apr. 31, 2019), https://bit.ly/2BmUFMp [hereinafter, “USMS Detention
15    Population”]).
16          The other, Western Region Detention Facility (“WRDF”), the County of San Diego
17    originally built as a maximum-security correctional facility with 725 beds. Id. ¶ 42. In
18    1999, GEO leased WRDF from the County. Id. GEO began housing USMS detainees at
19    WRDF in 2000. Id. ¶ 43. As of April 2019, WRDF had an ADP of 676 detainees. Id. ¶ 42
20    (citing USMS Detention Population at 2). USMS renewed its contract with GEO on
21    November 14, 2017, for a base period of approximately two years, with four two-year
22    options that USMS can exercise to continue GEO’s services through September 30, 2027.
23    Id. ¶ 44. USMS exercised its first option under the contract on October 1, 2019, continuing
24    its contract with GEO through September 30, 2021. Id. ¶ 45. Because USMS only pursues
25    private detention facilities when there is no other available space, all option years are
26    generally exercised. U.S. Compl. ¶ 30.
27    ///
28    ///

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1                 2.     USMS’s Other Southern California Facilities
2          The next closest USMS facility outside San Diego is the Otay Mesa Detention
3    Center (“OMDC”), which also is privately run. GEO Compl. ¶ 48. It is primarily used by
4    U.S. Immigration and Customs Enforcement (“ICE”), as described below. Id.; see also
5    infra Section II.C.4.
6          The El Centro Service Processing Center (“El Centro”) in El Cajon, California, GEO
7    Compl. ¶ 51, is owned by ICE, which has authorized USMS to house USMS detainees
8    there. Id. ¶ 52. USMS is authorized to house over 1,800 inmates in the El Centro facility
9    in 2020. U.S. Compl. ¶ 29. On December 23, 2019, USMS awarded GEO a contract to
10   operate El Centro for a base period of two years, with USMS having the right to exercise
11   three two-year options and one nine-month option. GEO Compl. ¶ 53.
12         The next closest, non-private USMS facilities to San Diego are located
13   approximately 90 miles away in Santa Ana, California. Id. ¶ 50. These two facilities had
14   a combined ADP of approximately 213 in April 2019. Id. (citing USMS Detention
15   Population at 2).
16         C.     U.S. Immigration and Customs Enforcement
17         In November 2002, Congress assigned the border-enforcement functions of the
18   former Immigration and Naturalization Service to the newly created Bureau of Immigration
19   and Customs Enforcement, which is housed within the Department of Homeland Security
20   (“DHS”) and was later renamed ICE in March 2007. GEO Compl. ¶ 56 (citing U.S.
21   Immigration & Customs Enf’t, Celebrating the History of ICE (Mar. 1, 2019),
22   https://bit.ly/35Jas68). Congress has authorized ICE to detain aliens, id. ¶ 57 (citing 8
23   U.S.C. §§ 1225(b)(1)(B)(ii), 1225(b)(2)(A), 1226(a), 1226(c); Jennings v. Rodriguez, 583
24   U.S. ___, 138 S. Ct. 830, 836–38 (2018)); U.S. Compl. ¶ 20 (citing 8 U.S.C. §§ 1187, 1222,
25   1225, 1226, 1226a, 1231), and has directed that “[t]he Attorney General shall arrange for
26   appropriate places of detention for aliens detained pending removal or a decision on
27   removal.” GEO Compl. ¶ 58 (quoting 8 U.S.C. § 1231(g)(1)). Consequently, DHS is
28   congressionally authorized to provide appropriate detention facilities for detainees,

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1    including by renting “facilities adapted or suitably located for detention” and by entering
2    cooperative agreements with States and localities. U.S. Compl. ¶ 21 (quoting 8 U.S.C.
3    §§ 1103(a)(11), 1231(g)). DHS also may “acquire, build, remodel, repair, and operate
4    facilities . . . necessary for detention,” but must first “consider the availability for purchase
5    or lease of any existing prison, jail, detention center, or other comparable facility suitable
6    for such use.” Id. (quoting 8 U.S.C. § 1231(g)(1)); see also GEO Compl. ¶ 58 (quoting 8
7    U.S.C. § 1231(g)(2)).
8          Whereas ICE’s immigration-enforcement efforts are usually aimed at the interior of
9    the United States, U.S. Customs and Border Protection (“CBP”) enforces immigration law
10   at the border. GEO Compl. ¶ 60. “Typically, when an alien is apprehended by CBP, they
11   are transferred to ICE custody pending removal proceedings. However, ICE’s resources
12   have been overburdened by the record numbers of CBP apprehensions at the southwest
13   border.”    Id. ¶ 61 (quoting Statement of Matthew T. Albence, Acting Dir., U.S.
14   Immigration & Customs Enf’t, The Fiscal Year 2020 President’s Budget Request 3
15   (July 25, 2019), https://bit.ly/2Bllfp9 [hereinafter, “Albence Stmt.”]).
16         For example, as of July 2019, ICE was “detaining over 53,000 single adults, and
17   there [were] approximately 8,000 single adults in CBP custody awaiting processing or
18   transfer to ICE custody.” Id. ¶ 62 (quoting Albence Stmt. at 3). As of July 2019, there had
19   been a 79 percent increase in intakes resulting from CBP apprehensions for the fiscal year
20   to date over the same period for Fiscal Year 2018, taxing the “already overburdened”
21   detention system. Id. ¶ 63 (quoting Albence Stmt. at 3). Indeed, whereas ICE’s detention
22   capacity was approximately 45,700 beds as of July 12, 2018, nearly 400,000 detainees were
23   booked into ICE’s facilities in Fiscal Year 2018. Id. ¶ 64 (quoting Audrey Singer, Cong.
24   Research Serv., R45804, Immigration: Alternatives to Detention (ATD) Programs 14
25   (July 8, 2019), https://bit.ly/2ojQNsE [hereinafter, “ATD Programs”]). In Fiscal Year
26   2019, ICE arrested and detained over 44,000 aliens in California. U.S. Compl. ¶ 57.
27         Because of safety concerns, ICE aims to fill approximately 85 to 90 percent of total
28   facility capacity; however, ICE meets or exceeds that target capacity in nearly all of the

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1    facilities it currently uses. GEO Compl. ¶ 65 (quoting U.S. Immigration & Customs Enf’t,
2    Dep’t of Homeland Sec., Budget Overview: Fiscal Year 2020 Congressional Justification
3    ICE-O&S-119        (2019),   https://bit.ly/336G3g3   [hereinafter,   “ICE   2020    Budget
4    Overview”]).      Because the system is “beyond capacity,” id. ¶ 66 (quoting Caitlin
5    Dickerson, ICE Faces Migrant Detention Crunch as Border Chaos Spills Into Interior of
6    the Country, N.Y. Times (Apr. 22, 2019), https://nyti.ms/2BEKvGS), ICE has determined
7    that additional detention capacity is necessary. Id. ¶ 67 (quoting Dickerson, supra).
8          ICE neither constructs nor operates its own detention facilities because significant
9    fluctuations in the alien population require ICE to maintain flexibility. U.S. Compl. ¶ 52.
10   Of the average population of approximately 50,000 aliens ICE housed in Fiscal Year 2019,
11   an average of about 9,300 were housed in privately owned and operated facilities. Id. ¶ 53.
12   ICE has housing for 5,000 detainees in private detention facilities in California, which
13   accounts for approximately 96 percent of ICE’s total detention space in California. Id.
14         Currently, there are four dedicated ICE detention facilities in California, GEO
15   Compl. ¶ 69; U.S. Compl. ¶ 54, all of which are privately run. GEO Compl. ¶ 70; U.S.
16   Compl. ¶¶ 53, 54. These four facilities can house approximately 5,000 detainees. U.S.
17   Compl. ¶ 54. ICE also has entered into contracts to convert three other facilities, or
18   “annexes,” into dedicated ICE detention centers, GEO Compl. ¶ 71; U.S. Compl. ¶ 54, all
19   of which are owned by GEO or a GEO subsidiary and are operated by GEO under contracts
20   with ICE. GEO Compl. ¶ 72; U.S. Compl. ¶ 54. These annexes can house approximately
21   2,150 additional detainees beginning in August 2020. U.S. Compl. ¶ 55. In addition to the
22   four privately owned, dedicated ICE facilities and their annexes, which have a combined
23   capacity of 7,188 beds, GEO Compl. ¶ 106; U.S. Compl. ¶ 54, there are two non-dedicated
24   ICE facilities in California shared with local entities housing non-ICE detainees. GEO
25   Compl. ¶ 103.
26                1.     The Adelanto ICE Processing Center and Annex
27         The Adelanto ICE Processing Center (“Adelanto”) is located in Adelanto,
28   California, and was originally built as a correctional facility by the City of Adelanto. GEO

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1    Compl. ¶¶ 69, 73. GEO purchased the eastern portion of the facility from the City of
2    Adelanto in 2008, and it built the western portion of the facility in two phases in 2010 and
3    2015. Id. ¶ 73. Currently, Adelanto has a capacity of 1,940 beds. Id. ¶ 69.
4          In May 2011, ICE entered into an Intergovernmental Service Agreement (“IGSA”)
5    with the City of Adelanto to house detainees, and the City of Adelanto in turn contracted
6    with GEO to carry out the IGSA. Id. ¶ 74. On March 27, 2019, the City of Adelanto
7    informed ICE and GEO that it would terminate its contract with ICE effective June 2019.
8    Id. ¶ 75. On June 25, 2019, ICE therefore contracted directly with GEO to continue
9    operating the Adelanto facility. Id. ¶ 76. That contract was due to expire on March 25,
10   2020. Id. Consequently, on December 19, 2019, ICE entered into a new contract with
11   GEO to continue running the Adelanto facility, with a period of performance starting
12   December 20, 2019, and ending December 19, 2034. Id. ¶ 77; see also U.S. Compl. ¶ 55.
13   ICE has the option to terminate the contract every five years, with the first such option
14   occurring on December 20, 2024. GEO Compl. ¶ 77; see also U.S. Compl. ¶ 55.
15         The Desert View Modified Community Correctional Facility (“Desert View”) is a
16   prison owned and operated by GEO in Adelano, California, with a capacity of 750 beds.
17   GEO Compl. ¶¶ 71, 79. Although GEO had been operating Desert View under a contract
18   with CDCR, CDCR terminated its contract with GEO effective March 31, 2020. Id. ¶ 79.
19   On September 20, 2019, ICE executed a modification to its Adelanto contract with GEO
20   to incorporate Desert View as an “annex.” Id. ¶ 80.
21                2.    The Imperial Region Detention Facility
22         The Imperial Region Detention Facility (“Imperial”) is located in Calexico,
23   California, and has a capacity of 704 beds. GEO Compl. ¶ 69. It is owned by Management
24   & Training Corporation (“MTC”) and, until recently, operated pursuant to an IGSA
25   between ICE and the City of Holtville, California, which in turn contracted with MTC to
26   operate the facility. Id. ¶ 100. ICE terminated the IGSA effective September 21, 2019,
27   and entered into a contract directly with MTC on September 22, 2019, effective
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1    December 20, 2019. Id. ¶ 101. The base period of performance runs through December 19,
2    2024, with two five-year options. Id.; see also U.S. Compl. ¶ 55.
3                 3.     The Mesa Verde ICE Processing Center and Annexes
4          The Mesa Verde ICE Processing Center (“Mesa Verde”) is located in Bakersfield,
5    California, and has a capacity of 400 beds. GEO Compl. ¶ 69. It was originally constructed
6    as a minimum-security correctional facility and has been owned and operated by GEO
7    since 2015. Id. ¶ 84.
8          In January 2015, ICE entered into an IGSA with the City of McFarland to house ICE
9    detainees, and the City of McFarland contracted with GEO to carry out the IGSA. Id. ¶ 85.
10   On December 19, 2018, the City of McFarland informed ICE and GEO that it would
11   terminate its contract with ICE effective March 2019, as a result of the passage of Assembly
12   Bill 103. Id. ¶ 86. Consequently, on March 5, 2019, ICE contracted directly with GEO to
13   continue operating Mesa Verde, with the contract set to expire on March 18, 2020. Id.
14   ¶ 87. On December 19, 2019, ICE entered into a new contract with GEO with the same
15   period of performance and option periods as the Adelanto contract. See id. ¶ 88; see also
16   U.S. Compl. ¶ 55.
17         The Central Valley Modified Community Correctional Facility (“Central Valley”)
18   and Golden State Modified Community Correctional Facility (“Golden State”), both
19   located in McFarland, California, are annexes to Mesa Verde, and each has a capacity of
20   700 beds. GEO Compl. ¶ 71. Both are owned and operated by GEO and were under
21   contracts with CDCR. Id. ¶¶ 90, 95. CDCR terminated its contract with GEO for Central
22   Valley on July 10, 2019, effective September 30, 2019. Id. ¶ 90. On September 20, 2019,
23   ICE executed a modification to the Mesa Verde contract to incorporate Central Valley as
24   an “annex,” id. ¶ 91, with the same period of performance and option periods as the Mesa
25   Verde contract. Id. ¶ 92. Similarly, CDCR notified GEO that it would terminate its Golden
26   State contract with GEO effective June 30, 2020, id. ¶ 95, so ICE executed a modification
27   to the Mesa Verde contract on September 20, 2019, to incorporate Golden Valley as an
28   “annex,” id. ¶ 96, with the same period of performance and options periods as the Mesa

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1    Verde and Central Valley contracts. Id. ¶ 97.
2                 4.     The Otay Mesa Detention Facility
3           The Otay Mesa Detention Facility (“OMDF”) is located in San Diego, California,
4    and has a capacity of 1,994 beds. GEO Compl. ¶ 69. USMS and ICE jointly use OMDF,
5    which is owned and operated by CoreCivic. Id. ¶ 102. ICE entered into a new contract
6    with CoreCivic that became effective December 20, 2019. Id. Like the contract with MTC
7    for Imperial, the OMDF contract has a base period of performance through December 19,
8    2024, with two five-year options. Id.; see also U.S. Compl. ¶ 55.
9                 5.     Non-Dedicated ICE Detention Facilities
10          There are also two non-dedicated ICE detention facilities in California, which are
11   authorized for ICE’s use pursuant to IGSAs but also are shared with local governmental
12   entities housing non-ICE detainees. GEO Compl. ¶ 103. One is the Glendale Police
13   Department, located in Glendale, California, and owned and operated by the Glendale
14   Police Department. Id. The second is the Yuba County Jail, located in Marysville,
15   California, with a capacity of 220 beds. Id. ¶¶ 103, 106. The Yuba County Jail is owned
16   by Yuba County and operated by the Yuba County Sheriff’s Department. Id. ¶ 103. ICE
17   “rarely uses” the Glendale Police Department, which has had an ADP of zero detainees in
18   Fiscal Year 2020, id. ¶ 104 (quoting Bradley Zint, Glendale Police Vow Not To Enforce
19   Federal Immigration Laws, L.A. Times (Apr. 1, 2017), https://lat.ms/31skq8o), and it is
20   unclear whether Yuba County will maintain its contract with ICE. Id. ¶ 105 (citing Don
21   Thompson & Amy Taxin, California to End Its Use of Private, For-Profit Prisons, Assoc.
22   Press (Oct. 11, 2019), https://bit.ly/2Pgb6C6).
23   III.   Impact of A.B. 32 on Plaintiffs
24          A.    Impact on GEO
25          GEO alleges that, if it must close its USMS and ICE detention facilities in California
26   as a result of A.B. 32, it will lose approximately $250 million per year in revenue over the
27   next fifteen years. GEO Compl. ¶ 108. GEO has invested over $300 million in acquiring,
28   constructing, outfitting, and otherwise making ready for use its USMS and ICE detention

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1    facilities in California. Id. ¶ 109. The replacement cost of GEO’s USMS and ICE detention
2    facilities in California is approximately $500 million. Id. Consequently, GEO alleges that
3    it could lose over $4 billion in capital investment and revenue over the next fifteen years if
4    A.B. 32 forces GEO to close its USMS and ICE detention facilities in California. Id. ¶ 110.
5          B.     Impact on the U.S.
6                 1.     BOP
7          The United States alleges that A.B. 32 would require BOP to transfer 1,300 inmates
8    housed at Taft and 900 inmates housed in RRCs to other BOP facilities or to facilities
9    outside California, which would cost significant taxpayer dollars and result in inmates
10   being incarcerated further from their residences, families, and other visitors. U.S. Compl.
11   ¶¶ 42, 49. In the case of RRCs, this would also result in inmates being placed further from
12   the communities in which they are to be released, id. ¶ 49, thereby hindering BOP’s ability
13   to provide community placement and develop community ties for offenders facing reentry.
14   Id. ¶ 50. The relocation of those housed in RRCs would also prove problematic for federal
15   courts, which use BOP’s RRCs to house individuals as an intermediate sanction during
16   supervision or probation. Id. ¶ 51.
17                2.     USMS
18         If A.B. 32 were to force private detention facilities in California to close, the United
19   States claims that USMS would have to relocate nearly 50% of its inmates in the Southern
20   District of California and nearly 30% of its inmates in California, U.S. Compl. ¶ 32, with
21   many of them likely to be housed out of state. Id. ¶ 33. Such relocations would cost
22   taxpayers a significant amount and require USMS to compete with other agencies for
23   limited detention space. Id. The displacement of these inmates also could result in
24   overcrowding in additional facilities, id. ¶ 34, and the isolation of inmates, whose families
25   are often in California and may lack the resources to visit their loved ones. Id. ¶ 35.
26         Because many of USMS’s detainees are pretrial, some prisoners may require
27   frequent transportation, requiring a dramatic increase in transportation coordination and
28   USMS’s cost per inmate. Id. ¶ 36. The increase in transportation also may heighten

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1    security and safety risks for inmates, USMS personnel, and the public and adversely affect
2    prisoners with medical or mobility concerns. Id. ¶ 37. Competition for transportation with
3    other agencies, including BOP, may delay judicial proceedings and increase the length of
4    time prisoners are in USMS custody, id. ¶¶ 38, 39, concomitantly increasing the number
5    of prisoners in USMS custody and further increasing USMS’s housing, medical, and
6    funding needs. Id. ¶ 38.
7                 3.     ICE
8          Because ICE has very limited access to housing capacity in California prisons, the
9    United States alleges that A.B. 32 would require ICE to relocate nearly all its detainees
10   outside California to neighboring states. U.S. Compl. ¶ 57. In Fiscal Year 2019, ICE
11   arrested and detained over 44,000 aliens in California. Id. Such a large number of
12   relocations would necessitate daily transfers, which would be burdensome and costly, see
13   id. ¶ 58, as well as heighten safety and security risks. See id. ¶ 59. Relocating California
14   detainees to out-of-state facilities may also cause overcrowding in those facilities, id. ¶ 60,
15   and reduce detainees’ access to their families and other visitors, id., which in turn may slow
16   immigration proceedings by hindering detainees’ ability to enlist friends and families to
17   collect evidence on their behalf. Id. ¶ 61.
18         The United States claims that A.B. 32 may also cause tension with ICE’s other
19   obligations under existing court orders and settlements. Id. ¶ 61 n.3 (citing Gonzalez v.
20   Sessions, 325 F.R.D. 616 (N.D. Cal. Jun. 5, 2018); Franco-Gonzalez v. Holder, No. 10-cv-
21   02211-DMG-DTB, 2013 WL 8115423 (C.D. Cal. 2013); Orantes-Hernandez v. Meese,
22   685 F. Supp. 1488 (C.D. Cal. 1988)); see also infra pages 66 – 67.
23   IV.   Procedural Background
24         GEO filed its Complaint for declaratory and injunctive relief against Governor
25   Newsom and Attorney General Becerra, in their official capacities, on December 30, 2019,
26   alleging that A.B. 32 is unconstitutional (1) for violating the Federal Government’s
27   intergovernmental immunity both (a) as a direct regulation of the Federal Government, and
28   (b) by discriminating against the Federal Government; and (2) as conflict preempted by

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1    federal law. See generally GEO Compl.; see also id. ¶¶ 111–34. GEO also asks the Court
2    for a declaration that its current contracts with the Federal Government are valid for their
3    entire periods of performance, including all option extensions.           See generally id.
4    ¶¶ 135–44. GEO filed its Motion for Preliminary Injunction on January 7, 2020, see
5    generally GEO Mot., which the Court deemed filed as of December 31, 2019, see GEO
6    ECF No. 14, at GEO’s request. See GEO ECF No. 13. Defendants filed their Motion to
7    Dismiss on March 5, 2020. See generally MTD.
8          The United States filed its Complaint for declaratory and injunctive relief against
9    Governor Newsom and Attorney General Becerra, in their official capacities, and the State
10   of California on January 24, 2020. See generally U.S. Compl. Like GEO, the United States
11   sought to have A.B. 32 declared unconstitutional as preempted and as violating the United
12   States’ intergovernmental immunity. See generally id.; see also id. ¶¶ 62–69. Although
13   the United States’ action was originally assigned to the Honorable Michael M. Anello, the
14   United States filed a notice of related case requesting that the action be transferred to this
15   Court as related to GEO. See generally U.S. ECF No. 2. The case was transferred on
16   January 31, 2020, see U.S. ECF No. 6, following which the United States filed its Motion
17   for Preliminary Injunction. See generally U.S. Mot. After filing an answer on February 14,
18   2020, see generally U.S. ECF No. 9, Defendants filed their Motion for Judgment on the
19   Pleadings. See generally MJP. The Court ordered additional briefing regarding the United
20   States’ standing as to its BOP facilities on May 4, 2020, see generally U.S. ECF No. 27,
21   pursuant to which both the United States (“U.S. Supp. Br.,” U.S. ECF No. 28) and
22   Defendants (“Defs.’ Supp. Br.,” U.S. ECF No. 29) filed responses.
23         With the Court’s permission, see GEO ECF Nos. 25, 39; U.S. ECF No. 18, the
24   Detention Amici filed briefs in support of Defendants in both actions, see generally
25   Detention Amici Br., and the Procurement Amici filed a brief in support of Defendants to
26   the GEO action. See generally Procurement Amici Br.
27         The Court held a videographic and telephonic hearing on July 16, 2019, see GEO
28   ECF No. 43; U.S. ECF No. 33, at which the Parties agreed to consolidation of the GEO

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1    and U.S. actions. See Tr. at 18:15–19:8 (GEO), 32:13–18 (U.S.), 40:15–22 (Defendants).
2    Accordingly, the Court ordered the cases consolidated. Tr. at 91:2–5; see also GEO ECF
3    Nos. 43–44; U.S. ECF Nos. 33–34. The Court also requested additional briefing from all
4    Parties following the hearing on “whether A.B. 32 is a direct regulation of the United States
5    in violation of intergovernmental immunity and the Court’s jurisdiction over Plaintiff The
6    GEO Group, Inc.’s fourth cause of action.” GEO ECF No. 45 at 1. GEO and the United
7    States filed their additional briefs on August 4, 2020, see GEO ECF Nos. 49 (“GEO Add’l
8    Br.”), 50 (“U.S. Add’l Br.”), and Defendants filed their additional brief on August 18,
9    2020. See GEO ECF No. 51 (“Defs.’ Add’l Br.”).
10        MOTIONS TO DISMISS AND FOR JUDGMENT ON THE PLEADINGS
11   I.    Legal Standards
12         A.     Federal Rule of Civil Procedure 12(b)(6)
13         Federal Rule of Civil Procedure 12(b)(6) permits a party to raise by motion the
14   defense that the complaint “fail[s] to state a claim upon which relief can be granted,”
15   generally referred to as a motion to dismiss. The Court evaluates whether a complaint
16   states a cognizable legal theory and sufficient facts in light of Federal Rule of Civil
17   Procedure 8(a), which requires a “short and plain statement of the claim showing that the
18   pleader is entitled to relief.”   Although Rule 8 “does not require ‘detailed factual
19   allegations,’ . . . it [does] demand more than an unadorned, the-defendant-unlawfully-
20   harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
21   Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In other words, “a plaintiff’s obligation to
22   provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and
23   conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
24   Twombly, 550 U.S. at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). A
25   complaint will not suffice “if it tenders ‘naked assertion[s]’ devoid of ‘further factual
26   enhancement.’” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at 557).
27         To survive a motion to dismiss, “a complaint must contain sufficient factual matter,
28   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting

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1    Twombly, 550 U.S. at 570); see also Fed. R. Civ. P. 12(b)(6). A claim is facially plausible
2    when the facts pled “allow the court to draw the reasonable inference that the defendant is
3    liable for the misconduct alleged.” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at
4    556). That is not to say that the claim must be probable, but there must be “more than a
5    sheer possibility that a defendant has acted unlawfully.” Id. Facts “‘merely consistent
6    with’ a defendant’s liability” fall short of a plausible entitlement to relief. Id. (quoting
7    Twombly, 550 U.S. at 557). This review requires context-specific analysis involving the
8    Court’s “judicial experience and common sense.” Id. at 678 (citation omitted). “[W]here
9    the well-pleaded facts do not permit the court to infer more than the mere possibility of
10   misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader is
11   entitled to relief.’” Id.
12          Where a complaint does not survive 12(b)(6) analysis, the Court will grant leave to
13   amend unless it determines that no modified contention “consistent with the challenged
14   pleading . . . [will] cure the deficiency.” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d 655,
15   658 (9th Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d
16   1393, 1401 (9th Cir. 1986)).
17          B.     Federal Rule of Civil Procedure 12(c)
18          Any party may move for judgment on the pleadings “[a]fter the pleadings are
19   closed—but early enough not to delay trial.” Fed. R. Civ. P. 12(c). A motion for judgment
20   on the pleadings attacks the legal sufficiency of the claims alleged in the complaint. See
21   Patel v. Contemporary Classics of Beverly Hills, 259 F.3d 123, 126 (2d Cir. 2001). The
22   Court must construe “all material allegations of the non-moving party as contained in the
23   pleadings as true, and [construe] the pleadings in the light most favorable to the [non-
24   moving] party.” Doyle v. Raley’s Inc., 158 F.3d 1012, 1014 (9th Cir. 1998). “Judgment
25   on the pleadings is proper when the moving party clearly establishes on the face of the
26   pleadings that no material issue of fact remains to be resolved and that it is entitled to
27   judgment as a matter of law.” Hal Roach Studios, Inc. v. Richard Feiner & Co., Inc., 896
28   F.2d 1542, 1550 (9th Cir. 1990). “Analysis under Rule 12(c) is ‘substantially identical’ to

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1    analysis under Rule 12(b)(6) because, under both rules, ‘a court must determine whether
2    the facts alleged in the complaint, taken as true, entitle the plaintiff to a legal remedy.’”
3    Chavez v. United States, 683 F.3d 1102, 1108 (9th Cir. 2012).
4    II.    Analysis5
5           The Supremacy Clause of the United States Constitution provides:
6                   This Constitution, and the laws of the United States which shall
7                   be made in pursuance thereof; and all treaties made, or which
                    shall be made, under the authority of the United States, shall be
8                   the supreme law of the land; and the judges in every state shall
9                   be bound thereby, anything in the Constitution or laws of any
                    State to the contrary notwithstanding.
10
11   Const. art. V, cl. 2. Both GEO and the United States allege that A.B. 32 violates the
12   Supremacy Clause because it is preempted by federal law and violates the
13   intergovernmental immunity of the United States and its contractors. See generally GEO
14   Compl.; U.S. Compl.
15          A.      Justiciability of the BOP Claims6
16          Federal courts are courts of limited jurisdiction and, as such, have an obligation to
17   dismiss claims for which they lack subject-matter jurisdiction. Demarest v. United States,
18   718 F.2d 964, 965 (9th Cir. 1983). “The party asserting jurisdiction bears the burden of
19   establishing subject matter jurisdiction.” In re Dynamic Random Access Memory Antitrust
20
21
     5
       Because “[a]nalysis under Rule 12(c) is ‘substantially identical’ to analysis under Rule 12(b)(6),”
22   Chavez, 683 F.3d at 1108, and because the Parties’ arguments are similar in both actions, compare GEO
     ECF Nos. 15, 22, 30, 31; with U.S. ECF Nos. 8, 13, 22, 23, the Court analyzes Defendants’ Rule 12(b)(6)
23   and Rule 12(c) Motions together.
24   6
       Although originally framed as a challenge to standing, see MJP Reply at 8; see also U.S. ECF No. 27;
25   U.S. Supp. Br.; Defs.’ Supp. Br., it appears that the issue raised by Defendants also touches on ripeness.
     See, e.g., Coons v. Lew, 762 F.3d 891, 897 (9th Cir.), as amended (Sept. 2, 2014) (“When addressing the
26   sufficiency of a showing of injury-in-fact grounded in potential future harms, Article III standing and
     ripeness issues often ‘boil down to the same question.’”) (quoting Susan B. Anthony List v. Driehaus, 573
27   U.S. 149, 157 n.5 (2014)); Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir.
28   2000) (“The constitutional component of the ripeness inquiry is often treated under the rubric of standing
     and, in many cases, ripeness coincides squarely with standing’s injury in fact prong.”).

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1    Litig., 546 F.3d 981, 984 (9th Cir. 2008) (citing Kokkonen v. Guardian Life Ins. Co. of Am.,
2    511 U.S. 375, 377 (1994); Stock W., Inc. v. Confederated Tribes of Colville Reservation,
3    873 F.2d 1221, 1225 (9th Cir. 1989)). “Whether the question is viewed as one of standing
4    or ripeness, the Constitution mandates that prior to [a federal court’s] exercise of
5    jurisdiction there exist a constitutional ‘case or controversy,’ that the issues presented are
6    ‘definite and concrete, not hypothetical or abstract.’” Thomas, 220 F.3d at 1139 (quoting
7    Ry. Mail Ass’n v. Corsi, 326 U.S. 88, 93 (1945)).
8          Defendants challenge the United States’ “Article III standing to challenge AB 32 as
9    applied to [Taft] or any BOP facility.” MJP Reply at 8. Specifically, Defendants contend
10   that, because BOP “is transferring all inmates out of Taft Correctional Institution, the only
11   BOP-contracted facility in California,” and “[t]here are no imminent plans to resume
12   operations at Taft,” “AB 32 threatens no ‘actual or imminent’ harm related to Taft.” Id.
13   (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).
14         Because the argument was first raised in Defendants’ Reply, the Court ordered
15   additional briefing on the issue. See U.S. ECF No. 27. Claiming that it is “no ordinary
16   litigant,” U.S. Supp. Br. at 3, the United States contends that it need not show injury-in-
17   fact, see id.; see also Tr. at 34:3–35:24, but that the harms it will suffer if A.B. 32 is
18   enforced “more than suffice to satisfy the usual injury-in-fact requirement of standing.”
19   U.S. Supp. Br. at 8 (citing Rivas v. Rail Delivery Serv., Inc., 423 F.3d 1079, 1082–83 (9th
20   Cir. 2005)). Defendants rejoin that “[t]he standing requirement applies to claims brought
21   by the United States,” Defs.’ Supp. Br. at 4 (citing Moe v. Confederated Salish & Kootenai
22   Tribes of Flathead Reservation, 425 U.S. 463, 475 n.13 (1976); United States v. City of
23   Arcata, 629 F.3d 986, 989–90 (9th Cir. 2010); United States v. Mattson, 600 F.2d 1295,
24   1297–1301 (9th Cir. 1979); Marshall v. Gibson’s Prod., Inc. of Plano, 584 F.2d 668, 676
25   (5th Cir. 1978)), and that the United States has failed to demonstrate any “actual or
26   imminent” injury given the absence of evidence concerning the United States’ plans to
27   reopen Taft and the lack of a genuine threat of prosecution as to the RRCs. See id. at 5–6.
28         As an initial matter, the United States first argued at the hearing that “standing is

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1    claim specific and relief specific” and “not fact specific to an agency.” See Tr. at
2    66:16–17. Although it is true that standing is claim specific, the question is whether the
3    United States’ configuration of its claims, which “are not limited to BOP,” see id. at 66:20,
4    controls. The Court concludes that it does not. The United States could have broken its
5    claims out by agency, or BOP could have brought suit in its own right. That the United
6    States happens to have presented its claims in one form over another does not confer
7    standing (or ripeness) where none exists. See Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996)
8    (“[S]tanding is not dispensed in gross.”). Consequently, the proper focus is not on the legal
9    theories as arranged by the United States, but rather on the injury-in-fact suffered by it.
10   See, e.g., Gilmore v. Gonzales, 435 F.3d 1125, 1134–35 (9th Cir. 2006) (concluding that
11   the plaintiff lacked standing to challenge other security programs stemming from
12   challenged policy beyond the one security program giving rise to his injury in fact); Friends
13   of Columbia Gorge, Inc. v. Schafer, 624 F. Supp. 2d 1253, 1278 (D. Or. 2008) (concluding
14   that one claim alleged by the plaintiffs was ripe as to certain guidelines but not as to others);
15   see also 13B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure §
16   3531.16 (3d ed.). Consequently, to the extent the United States fails to establish that BOP
17   is likely to suffer a concrete injury as a result of A.B. 32, the Court lacks jurisdiction over
18   that part of the United States’ claims.
19          The Court concludes that the United States has failed to establish the requisite
20   justiciable case or controversy concerning the constitutionality of A.B. 32 as applied to its
21   BOP facilities. As an initial matter, the United States—even if “no ordinary litigant,” see
22   U.S. Supp. Br. at 3—nonetheless must establish justiciability, including standing. See, e.g.,
23   City of Arcata, 629 F.3d at 989–90. Defendants contend that the United States therefore
24   must establish that there is a “genuine threat of imminent prosecution” under A.B. 32,7
25   Defs.’ Supp. Br. at 6 (quoting Thomas, 220 F.3d at 1139 (quoting Babbitt v. United Farm
26
27   7
      “The threatened state action need not necessarily be a prosecution.” Lopez v. Candaele, 630 F.3d 775,
28   786 (9th Cir. 2010) (citing Meese v. Keene, 481 U.S. 465, 472–73 (1987); Canatella v. California, 304
     F.3d 843, 852–53 (9th Cir. 2002)).

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1    Workers Nat’l Union, 442 U.S. 289, 298 (1979))), requiring an examination of “whether
2    the [United States] ha[s] articulated a ‘concrete plan’ to violate the law in question, whether
3    the prosecuting authorities have communicated a specific warning or threat to initiate
4    proceedings, and the history of past prosecution or enforcement under the challenged
5    statute.” Id. (quoting Thomas, 220 F.3d at 1139). The United States contends, without
6    elaboration, that these factors do not apply. See Tr. at 68:1–4. The Court sees no reason
7    why they should not. These factors have been applied to assess the standing of the United
8    States. See City of Arcata, 629 F.3d at 989–90 (analyzing threatened enforcement of
9    ordinance against United States). They have also been applied in Supremacy Clause cases.
10   See, e.g., id.; Valley View Health Care, Inc. v. Chapman, 992 F. Supp. 2d 1016, 1031–35
11   (E.D. Cal. 2014).
12          Regarding the United States’ standing to challenge A.B. 32 as applied to BOP
13   prisons, the Court concludes that the United States has failed to meet its burden. When it
14   filed its Complaint,8 the United States indicated that “BOP may seek to award a new
15   contract or a contract extension” if it determined that Taft could remain operational while
16   infrastructure repairs were being made.9 U.S. Compl. ¶ 41 (emphasis added); see also
17   Jones Decl.10 ¶ 14 (“If Taft CI can remain operational, then BOP may seek to extend its
18
19
     8
       “The existence of federal jurisdiction ordinarily depends on the facts as they exist when the complaint is
20   filed.” Lujan, 504 U.S. at 571 n.4 (quoting Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 830
     (1989)) (emphasis in original). When asked at the hearing, counsel for the United States indicated its view
21
     that post-filing developments were relevant and could properly be considered in determining a motion for
22   preliminary injunction. See Tr. at 33:10–34:2. Those post-filing developments, however, do not
     strengthen the United States’ arguments for standing—Taft has since closed for repairs and relocated its
23   inmates. See Tr. at 33:14–19; see also Supp. Decl. of Pamela L. Jones in Support of U.S. Mot. (“Supp.
     Jones Decl.,” ECF No. 22-1) ¶¶ 3–4. Although it is “BOP’s intent . . . to ultimately return Taft CI to
24   operational status,” id. ¶ 5, there is no indication as to how or when that may happen.
25   9
      The contract with MTC to operate Taft was to expire on March 31, 2020. See U.S. Compl. ¶ 41; Decl.
     of Pamela L. Jones in Support of U.S. Mot. (“Jones Decl.,” ECF No. 8-2) ¶ 14.
26
     10
        The Jones Declaration was signed on January 24, 2020, see id. at 7, the same day that the United States
27   filed its Complaint. See generally U.S. Compl. It was also filed on January 24, 2020, along with the
28   Complaint, as an exhibit to an ex parte motion seeking leave to file the U.S. Motion in excess of the
     District’s page limit. See ECF No. 4-3.

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1    current contract or award a new one.”) (emphasis added).11 Further, at that time, “BOP
2    d[id] not have any immediate plans for new contracts for private secure detention facilities
3    in California.” Jones Decl. ¶ 15. Whether BOP intends to violate A.B. 32 therefore hinges
4    on several contingencies, including whether Taft can remain operational while repairs are
5    made (it could not), whether BOP decides to continue housing inmates at Taft while repairs
6    are made (it did not), and whether BOP can extend or award a new contract for the private
7    operation of the facility. “Such ‘some day’ intentions—without any description of concrete
8    plans, or indeed even any specification of when the some day will be—do not support a
9    finding of the ‘actual or imminent’ injury that [the Supreme Court’s] cases require.” Long
10   Beach Area Chamber of Commerce v. City of Long Beach, 603 F.3d 684, 690 (9th Cir.
11   2010) (quoting Lujan, 504 U.S. at 564); see also Texas v. United States, 523 U.S. 296, 300
12   (1998) (“A claim is not ripe for adjudication if it rests upon contingent future events that
13   may not occur as anticipated, or indeed may not occur at all.”) (quoting Thomas v. Union
14   Carbide Agric. Prods. Co., 473 U.S. 568, 580–581 (1985)) (internal quotation marks
15   omitted); W. Oil & Gas Ass’n v. Sonoma Cty., 905 F.2d 1287, 1291 (9th Cir. 1990) (holding
16   that action challenging land use ordinances was not ripe where the new ordinances would
17   only be applied if leases of federal waters off the California coast for oil and gas exploration
18   and development were to be offered for sale in the future). The United States therefore
19   fails to demonstrate a concrete plan to violate A.B. 32 as to BOP’s privately operated prison
20   facilities in California. See, e.g., Thomas, 220 F.3d at 1139 (“A general intent to violate a
21   statute at some unknown date in the future does not rise to the level of an articulated,
22   concrete plan.”).
23          The United States fares no better as to its RRCs. Although the United States has
24
25
     11
       Although generally limited to the pleadings, see supra note 2, “in evaluating a motion for judgment on
26   the pleadings in which a party challenges subject-matter jurisdiction, the Court may look beyond the
     pleadings and consider extrinsic evidence.” Innovative Sports Mgmt., Inc. v. Robles, No. 13-CV-00660-
27   LHK, 2014 WL 129308, at *2 (N.D. Cal. Jan. 14, 2014) (citing Maya v. Centx Corp., 658 F.3d 1060,
28   1067–68 (9th Cir. 2011); In re Seizure of One Blue Nissan Skyline Auto., 683 F. Supp. 2d 1087, 1089
     (C.D. Cal. 2010)).

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1    concrete plans to continue operating its RRCs in California, see, e.g., Decl. of Jon Gustin
2    in Support of U.S. Mot. (“Gustin Decl.,” ECF No. 8-3) ¶ 23, it has failed to establish a
3    genuine threat of imminent prosecution. Defendants “ha[ve] suggested that the newly
4    enacted law will not be enforced” as to BOP’s RRCs. See Virginia v. Am. Booksellers
5    Ass’n, Inc., 484 U.S. 383, 393 (1988). Indeed, Defendants have gone so far as to represent
6    that BOP’s RRCs “are not covered by AB 32.” MJP at 27 n.14 (citing Cal. Penal Code
7    § 9502(c)). Given the “remote” threat of enforcement, the United States has failed to
8    establish Article III standing as to BOP’s RRCs. See, e.g., Yoshioka v. Charles Schwab
9    Corp., No. C-11-1625 EMC, 2012 WL 5932817, at *9 (N.D. Cal. Nov. 27, 2012)
10   (concluding that the plaintiff lacked standing and that action was not ripe where “[n]ot only
11   is there no history of [agency] enforcement, [but] the [agency] has taken an affirmative
12   stance that it will not consider potential prohibited transactions created by such language
13   for the foreseeable future”) (emphasis in original).
14         There are two problems with the United States’ argument that Defendants’
15   representation that BOP’s RRCs are subject to the Section 9502(c) exception is a “mere
16   litigation position” that cannot “defeat standing.” U.S. Supp. Br. at 8 (citing Lopez, 630
17   F.3d at 788; Vt. Right to Life Comm., Inc. v. Sorrell, 221 F.3d 376, 383 (2d Cir. 2000); Am.-
18   Arab Anti-Discrimination Comm. v. Thornburgh, 970 F.2d 501, 507–08 (9th Cir. 1991);
19   Valley View Health Care, Inc., 992 F. Supp. 2d at 1033). First, the binding authorities cited
20   by the United States all involved First Amendment challenges, see, e.g., Lopez, 630 F.3d
21   at 785; Thornburgh, 970 F.2d at 504, to which the Ninth Circuit applies a “less stringent[],”
22   Wolfson v. Brammer, 616 F.3d 1045, 1058 (9th Cir. 2010), and “somewhat different”
23   analysis. See Protectmarriage.com-Yes on 8 v. Bowen, 752 F.3d 827, 839 (9th Cir. 2014).
24   Specifically, in First Amendment pre-enforcement cases, “the plaintiff need not establish
25   an actual threat of government prosecution,” see id. (citing Wolfson, 616 F.3d at 1059–60),
26   but rather merely “a credible threat of prosecution,” Lopez, 630 F.3d at 785 (quoting
27   Babbitt, 442 U.S. at 298), which requires only that “plaintiffs . . . show a reasonable
28   likelihood that the government will enforce the challenged law against them.” See id. at

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1    786. Further, “when the threatened enforcement effort implicates First Amendment rights,
2    the [standing] inquiry tilts dramatically toward a finding of standing.”          Ital. Colors
3    Restaurant v. Becerra, 878 F.3d 1165, 1172 (9th Cir. 2018) (quoting LSO, Ltd. v. Stroh,
4    205 F.3d 1146, 1155 (9th Cir. 2000)). Because this case is not a First Amendment case,
5    the United States faces a higher standard to bring its pre-enforcement claim.
6          Second, the United States’ binding authorities involve situations in which the
7    plaintiff was already being investigated or prosecuted before filing suit, but the defendant
8    ceased enforcement efforts after filing as a litigation tactic. See, e.g., Lopez, 630 F.3d at
9    783–84, 788, 791–92 (acknowledging that “the government’s disavowal must be more than
10   a mere litigation position” but concluding that the plaintiff had failed to establish standing
11   where party responsible for enforcement of challenged policy wrote letter “indicating that
12   no action w[ould] be taken” and the organization “had not taken any steps to enforce the
13   . . . policy against [the plaintiff], either before or after [the plaintiff]’s threat to sue”);
14   Thornburgh, 970 F.2d at 508 (concluding that the plaintiffs established standing where
15   “[a]lready they have once been charged with the challenged provisions, which charges
16   were dropped, not because they were considered inapplicable, but for tactical reasons”).
17   Here, by contrast, Defendant have taken no pre- (or post-)filing enforcement action against
18   the United States with respect to the RRCs and, to the contrary, explicitly have indicated
19   no intent to do so in the future. Should Defendants change their mind regarding the
20   applicability of the Section 9502(c) exception to the RRCs, the United States may be able
21   to establish standing in the future, see Sacks v. Office of Foreign Assets Control, 466 F.3d
22   764, 774–75 (9th Cir. 2006) (“Because [the plaintiff] fails to allege a concrete and
23   imminent injury-in-fact caused by the [challenged] Restrictions, this claim is not justiciable
24   both for lack of standing and ripeness. Of course, should [the defendant] take action to
25   penalize [the plaintiff] for violating the [challenged] Restrictions at a later date, he would
26   then have standing to challenge their legitimacy.”); however, at present, the United States
27   has failed to establish a threat of enforcement that is “not simply ‘imaginary or
28   speculative.’” Thomas, 220 F.3d at 1140 (quoting Babbitt, 442 U.S. at 298).

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1          The Court therefore concludes that the United States has failed to establish a concrete
2    and imminent injury-in-fact caused by A.B. 32 as applied to its BOP facilities.
3    Consequently, those claims are not justiciable, and the Court DISMISSES WITHOUT
4    PREJUDICE the United States’ causes of action to the extent they challenge A.B. 32 as
5    applied to Taft and the BOP’s RRCs.
6          B.     Preemption
7          “Federal preemption occurs when: (1) Congress enacts a statute that explicitly pre-
8    empts state law; (2) state law actually conflicts with federal law; or (3) federal law occupies
9    a legislative field to such an extent that it is reasonable to conclude that Congress left no
10   room for state regulation in that field.” CTIA – Wireless Ass’n v. City of Berkeley, 928
11   F.3d 832, 849 (9th Cir. 2019). GEO contends that A.B. 32 is preempted under the second
12   category (conflict preemption), see GEO Compl. ¶¶ 130–34, while the United States
13   contends that A.B. 32 is preempted by both the second and third (field preemption)
14   categories. See U.S. Compl. ¶¶ 63–65.
15         In both conflict and field preemption cases, see Puente Ariz. v. Arpaio, 821 F.3d
16   1098, 1104 (9th Cir. 2016), the Court’s analysis “must be guided by two cornerstones of
17   [the Supreme Court’s] pre-emption jurisprudence.” Wyeth v. Levine, 555 U.S. 555, 565
18   (2009). “First, ‘the purpose of Congress is the ultimate touchstone in every pre-emption
19   case.’” Id. (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)) (citing Retail
20   Clerks v. Schermerhorn, 375 U.S. 96, 103 (1963)). “Second, ‘[i]n all pre-emption cases,
21   and particularly in those in which Congress has ‘legislated . . . in a field which the States
22   have traditionally occupied,’ . . . [the Court] ‘start[s] with the assumption that the historic
23   police powers of the States were not to be superseded by the Federal Act unless that was
24   the clear and manifest purpose of Congress.’” Id. (quoting Medtronic, Inc., 518 U.S. at
25   485) (first, second, and third alterations in original).
26                1.     Presumption Against Preemption
27         “[T]he Supreme Court [has] noted that [i]n preemption analysis, courts should
28   assume that the historic police powers of the States are not superseded ‘unless that was the

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1    clear and manifest purpose of Congress.” United States v. California, 921 F.3d 865, 885–
2    86 (9th Cir. 2019) (quoting Arizona v. United States, 567 U.S. 387, 400 (2012)), cert.
3    denied, ___ S. Ct. ___, 2020 WL 3146844 (2020). Defendants contend that, because
4    “California possesses the historic police power ‘to ensure the health and welfare of inmates
5    and detainees in facilities within its borders,’” MTD at 15 (quoting California, 921 F.3d at
6    885–86) (citing Medtronic, Inc., 518 U.S. at 475; Hillsborough Cty. v. Automated Med.
7    Labs., Inc., 471 U.S. 707, 719 (1985); Puente Ariz., 821 F.3d at 1104); MJP at 15 (quoting
8    California, 921 F.3d at 885–86) (citing Puente Ariz., 821 F.3d at 1104), “Plaintiff[s] would
9    have to show that it was Congress’s ‘clear and manifest purpose’ to preempt AB 32.” MTD
10   at 15; MJP at 15.
11         Plaintiffs contend that the presumption against preemption is inapplicable here. See
12   generally GEO ECF No. 30 (“GEO Opp’n”) at 12–15; U.S. ECF No. 22 (“U.S. Opp’n”) at
13   11–14. Specifically, GEO argues that California exceeded its traditional police powers by
14   enacting a law purporting to regulate facilities and detainees subject to the jurisdiction of
15   the Federal Government, GEO Opp’n at 13; see also id. at 14, as well as “the conduct of
16   federal officials and contractors.” Id. at 13. Similarly, the United States urges that “[t]here
17   is no presumption against preemption in areas that are ‘inherently federal in character,’”
18   including “(1) the United States’ authority to control rights and obligations under its
19   contracts, (2) the Federal Government’s prerogative to provide for those in its custody, and
20   (3) the federal power over foreign relations and immigration.” U.S. Opp’n at 11 (quoting
21   Buckman Co. v. Pls.’ Legal Comm., 531 U.S. 341, 347–48 (2001)) (citing Stengel v.
22   Medtronic Inc., 704 F.3d 1224, 1235 (9th Cir. 2013) (Watford, J., concurring); U.S. Mot.
23   at 8). Defendants respond that “the presumption ‘applies when a state regulates in an area
24   of historic state power even if the law touches on’ an area of significant federal presence.”
25   GEO ECF No. 31 (“MTD Reply”) at 5 (quoting Knox v. Brnovich, 907 F.3d 1167, 1174
26   (9th Cir. 2018)); U.S. ECF No. 23 (“MJP Reply”) at 5 (quoting Knox, 907 F.3d at 1174).
27         The Court agrees with Defendants. The Supreme Court has long recognized that
28   “the regulation of health and safety matters is primarily, and historically, a matter of local

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1    concern.” Hillsborough, 471 U.S. at 719 (citing Rice v. Santa Fe Elevator Corp., 331 U.S.
2    218, 230 (1947)). As Defendants note, see MTD at 15; MJP at 15, the Ninth Circuit
3    recently recognized that “California possesses the general authority to ensure the health
4    and welfare of inmates and detainees in facilities within its borders.”12 California, 921
5    F.3d at 886. The statute in question, Assembly Bill 103, authorized the California Attorney
6    General to “engage in reviews of county, local, or private locked detention facilities in
7    which noncitizens are being housed or detained for purposes of civil immigration
8    proceedings in California,” Cal. Gov’t Code § 12532(b), thereby “relat[ing] exclusively to
9    federal conduct.” California, 921 F.3d at 882. It therefore appears that the Ninth Circuit
10   implicitly has recognized that California’s authority to ensure the health and welfare of
11   inmates and detainees within its borders extends to federal inmates and detainees.
12           As confirmed by its legislative history,13 A.B. 32 appears to be a regulation ensuring
13   the health and welfare of inmates and detainees within California’s borders. See Tr. at
14
15   12
        Plaintiffs urge the Court to disregard the Ninth Circuit’s guidance in California as dicta, see GEO Opp’n
16   at 15, or as distinguishable on the grounds that the law at issue in California “d[id] not regulate whether
     or where an immigration detainee may be confined.” U.S. Opp’n at 13 (quoting California, 921 F.3d at
17   885). Even if dicta, California remains the Ninth Circuit’s most recent and analogous guidance on the
     issue, and it is all the more persuasive given Plaintiffs’ failure to identify analogous cases rejecting the
18   presumption against preemption. The portion of California from which the United States quotes served
     to distinguish that case from In re Tarble, 80 U.S. 397 (1871). See California, 921 F.3d at 885. In Tarble,
19   the issue the Supreme Court confronted was “[w]hether any judicial officer of a State has jurisdiction to
20   issue a writ of habeas corpus, or to continue proceedings under the writ when issued, for the discharge of
     a person held under the authority, or claim and color of the authority, of the United States, by an officer
21   of that government.” 80 U.S. at 402 (emphasis in original). Unlike in Tarble, neither this case nor
     California involve habeas corpus or a state ordering the release of a person held in federal custody; rather,
22   both A.B. 32 and A.B. 103 address conditions in detention facilities located in California. In any event,
     A.B. 32 “does not regulate whether or where an immigration detainee may be confined,” cf. California,
23   921 F.3d at 885, or federal detainees, officials, or contractors, see GEO Opp’n at 13; U.S. Opp’n at
24   11–12; rather, it regulates “person[s] . . . operat[ing] . . . private detention facility[ies] within the state.”
     See Cal. Penal Code § 9501.
25
     13
        In each case, Defendants request that the Court take judicial notice of six exhibits, each part of the
26   legislative history of A.B. 32. See generally GEO ECF No. 20-1; GEO ECF No. 23; U.S. ECF No. 13-1;
     U.S. ECF No. 15 (together, “Defs.’ RJNs”). Specifically, Defendants request that the Court take judicial
27   notice of the following: (1) Assem. Comm. on Public Safety, Bill Analysis of Assembly Bill 32, 2019-
28   2020 Reg. Sess. (Feb. 26, 2019); (2) Assem. Comm. on Appropriations, Bill Analysis of Assembly Bill
     32, 2019-2020 Reg. Sess. (March 6, 2019); (3) Assem. Floor Analysis, Bill Analysis of Assembly Bill 32,

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1    88:23–89:89:8. For example, the Assembly Committee on Public Safety’s February 26,
2    2019 analysis of A.B. 32 reveals that Assemblyman Bonta—the author of A.B. 32—
3    expressed concern that “[a] private, for-profit company that is traded on Wall Street will
4    inherently be incentivized to maximize profits and minimize costs—including the
5    important ‘cost’ of investments in programs, services and rehabilitation efforts for
6    inmates.” Defs.’ RJNs Ex. 1 at 2. The Committee also noted “[c]oncerns with [p]rivate
7    [p]risons,” specifically, a 2016 investigation by the DOJ’s Office of the Inspector General
8    (“OIG”) that found, among other things, “that private prisons were less safe than federal
9    prisons, poorly administered, and . . . had higher rates of assaults, both by inmates on other
10   inmates and by inmates on staff.” Id. at 4; see also Defs.’ RJNs Ex. 5 at 6 (Senate
11   Committee on Public Safety analysis discussing same DOJ OIG investigation). Similarly,
12   the Assembly Committee on Appropriations’ March 6, 2019 analysis of A.B. 32 noted that
13   “[t]he California State Auditor recently reported in February 2019 that Geo Group, Inc.,
14   operates private facilities in McFarland and Adelanto that house Immigration and Customs
15   Enforcement (ICE) detainees in arguably unsafe and unhealthy facilities with no city,
16   county, or state oversight.” Defs.’ RJNs Ex. 2 at 2. Such health and safety concerns were
17   also present in the Senate, which provided the following “digest” of A.B. 32 for the July 2,
18   2019 Senate Judiciary Committee hearing: “In line with California’s interest in ensuring
19   the safety and welfare of its residents, this bill abolishes the private for-profit prison
20   industry from our state in order to protect incarcerated individuals from serious harm within
21   our state border.” Defs.’ RJNs Ex. 4 at 1; accord Defs.’ RJNs Ex. 6 at 1. Consequently,
22
23   2019-2020 Reg. Sess. (May 21, 2019); (4) Sen. Judiciary Comm., Bill Analysis of Assembly Bill 32,
24   2019-2020 Reg. Sess. (July 2, 2019); (5) Sen. Public Safety Comm., Bill Analysis of Assembly Bill 32,
     2019-2020 Reg. Sess. (July 9, 2019); (6) Sen. Floor Analyses, Bill Analysis of Assembly Bill 32, 2019-
25   2020 Reg. Sess. (Sept. 9, 2019). See Defs.’ RJNs at 2. As Defendants note, see id. (citing Tan v. GrubHub,
     Inc., 171 F. Supp. 3d 998, 1004 (N.D. Cal. 2016); Zephyr v. Saxon Mortg. Servs., Inc., 873 F. Supp. 2d
26   1223, 1226 (E.D. Cal. 2012)), “[t]he legislative history of California statutes is judicially noticeable so
     long as the documents are readily available public records.” With the caveat that the Court “cannot take
27   judicial notice of disputed facts contained in such public records,” see Khoja, 899 F.3d at 999 (citing Lee
28   v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001)), the Court therefore GRANTS Defendants’
     Requests for Judicial Notice.

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1    even though A.B. 32 may affect areas of federal concern, including federal detention and
2    contracting, it also regulates the health and safety of detainees held within California. See,
3    e.g., Puente Ariz., 821 F.3d at 1104 (“[W]hile the identity theft laws [at issue] certainly
4    have effects in the area of immigration, the text of the laws regulate for the health and
5    safety of the people of Arizona.”) (citing Medtronic, Inc., 518 U.S. at 475).
6          The Court therefore concludes that the presumption against preemption applies and
7    that Plaintiffs “bear the considerable burden of overcoming the starting presumption that
8    Congress does not intend to supplant state law,” see Stengel, 704 F.3d at 1227–28 (quoting
9    De Buono v. NYSA-ILA Med. & Clinical Servs. Fund, 520 U.S. 806, 814 (1997)) (internal
10   quotation marks omitted), by demonstrating a contrary “clear and manifest purpose of
11   Congress.” California, 921 F.3d at 885–86 (quoting Arizona, 567 U.S. at 400).
12                2.     Conflict Preemption
13         “Conflict preemption is implicit preemption of state law that occurs where there is
14   an actual conflict between state and federal law.” CTIA, 928 F.3d at 849 (quoting
15   McClellan v. I-Flow Corp., 776 F.3d 1035, 1039 (9th Cir. 2015)). “Conflict preemption
16   arises either when ‘compliance with both federal and state regulations is a physical
17   impossibility . . . or when state law stands as an obstacle to the accomplishment and
18   execution of the full purposes and objectives of Congress.’” Id. (alteration in original)
19   (quoting McClellan, 776 F.3d at 1039).
20         According to GEO, A.B. 32 is conflict preempted both by federal criminal law and
21   immigration law, see GEO Compl. ¶¶ 125–34; see also GEO Opp’n at 15–24, while the
22   United States contends that A.B. 32 is conflict preempted by Congress’s delegation to
23   Executive Branch agencies authority to house federal prisoners and detainees. See U.S.
24   Compl. ¶ 64; see also U.S. Opp’n at 21–25.
25                       a.    GEO
26         GEO argues that “AB-32 is preempted because it denies to both federal immigration
27   and criminal law-enforcement statutes”—which “authorize ICE and the USMS to carry out
28   their respective detention operations using private contractors,” GEO Mot. at 30—“their

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1    ‘natural effect[s]’ and obviously ‘frustrate[s]’ their operation.” Id. at 29–30 (quoting
2    Savage v. Jones, 225 U.S. 501, 533 (1912)) (alteration in original).
3                              i.     Federal Immigration Law
4          GEO does not appear to argue that it is impossible to comply with both A.B. 32 and
5    federal law and regulations concerning the housing of immigration detainees; the relevant
6    inquiry, therefore, is whether A.B. 32, as applied to GEO in its contracts with ICE, “stands
7    as an obstacle to the accomplishment and execution of the full purposes and objectives of
8    Congress.” CTIA, 928 F.3d at 849 (quoting McClellan, 776 F.3d at 1039); see also Tr. at
9    55:5–9.   “What is a sufficient obstacle is a matter of judgment, to be informed by
10   examining the federal statute as a whole and identifying its purpose and intended effects.”
11   Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 373 (2000). In other words, “state
12   law is preempted to the extent it actually interferes with the ‘methods by which the federal
13   statute was designed to reach [its] goal.’” In re Nat’l Sec. Agency Telecommc’ns Records
14   Litig., 633 F. Supp. 2d 892, 907 (N.D. Cal. 2007) (quoting Int’l Paper Co. v. Ouellette, 479
15   U.S. 481, 494 (1987)) (citing Verizon N., Inc. v. Strand, 309 F.3d 935, 940 (6th Cir. 2002)).
16         Here, the immigration statutes on which GEO relies do not reveal a clear and
17   manifest congressional objective that ICE contract with private detention facilities to house
18   immigration detainees. GEO relies predominantly on 8 U.S.C. § 1231(g), which provides:
19                (g)   Places of detention
20
                  (1)   In general
21
                  The Attorney General shall arrange for appropriate places of
22
                  detention for aliens detained pending removal or a decision on
23                removal. When United States Government facilities are
                  unavailable or facilities adapted or suitably located for detention
24
                  are unavailable for rental, the Attorney General may expend from
25                the appropriation “Immigration and Naturalization Service--
                  Salaries and Expenses”, without regard to section 6101 of Title
26
                  41, amounts necessary to acquire land and to acquire, build,
27                remodel, repair, and operate facilities (including living quarters
                  for immigration officers if not otherwise available) necessary for
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1                 detention.
2
                  (2)    Detention facilities of         the    Immigration       and
3                        Naturalization Service
4
                  Prior to initiating any project for the construction of any new
5                 detention facility for the Service, the Commissioner shall
                  consider the availability for purchase or lease of any existing
6
                  prison, jail, detention center, or other comparable facility suitable
7                 for such use.
8    While Section 1231(g) articulates certain congressional objectives, such as purchasing or
9    leasing available and existing facilities prior to the construction of new facilities, it does
10   not express a clear intent that ICE lease private detention facilities in particular or, much
11   less, contract with private parties to operate such facilities. Further, where appropriate
12   facilities are “unavailable,” Congress explicitly has authorized the construction of new
13   detention facilities. See 8 U.S.C. §§ 1231(g)(1), (2). Consequently, even if the application
14   of A.B. 32 were to render private detention facilities within California “unavailable,”
15   congressional objectives nonetheless can be fully accomplished through the construction
16   of new facilities (or the lease of existing facilities that can no longer be operated by the
17   private detention industry). “As the Supreme Court has cautioned, [courts] should not
18   ‘seek[ ] out conflicts between state and federal regulation where none clearly
19   exists.’” Ass’n des Éleveurs de Canards et d’Oies du Quebec v. Becerra, 870 F.3d 1140,
20   1153 (9th Cir. 2017) (quoting English v. Gen. Elec. Co., 496 U.S. 72, 90 (1990)) (second
21   alteration in original); see also Puente Ariz., 821 F.3d at 1105 (“[T]ension is not enough to
22   rise to the level of a ‘clear and manifest purpose’ to preempt the [challenged] laws in their
23   entirety.”) (citing Wyeth, 555 U.S. at 565).
24         The additional statutes cited by GEO are no more availing. GEO notes, for example,
25   that “[t]he Secretary . . . shall have the authority to make contracts, grants, and cooperative
26   agreements, and to enter into agreements with other executive agencies, as may be
27   necessary and proper to carry out the Secretary’s responsibilities under this chapter or
28   otherwise provided by law.” 6 U.S.C. § 112(b)(2). Although this statute could conceivably

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1    encompass the authority to make contracts with private detention companies, that intention
2    is by no means clearly and manifestly expressed. Similarly, that, “[e]xcept to the extent
3    provided otherwise by law, the activities of the Department of Justice (including any
4    bureau, office, board, division, commission, subdivision, unit, or other component thereof)
5    may, in the reasonable discretion of the Attorney General, be carried out through any
6    means, including . . . through contracts, grants, or cooperative agreements with non-Federal
7    parties,” 28 U.S.C. § 530C(a)(4), does not reveal any clear and manifest congressional
8    intent that ICE house detainees in private detention facilities. GEO also cites to a
9    Department of Justice Appropriations Act passed in 2000, which provides,
10   “[n]otwithstanding any other provision of law, . . . the [Secretary] hereafter may enter into
11   contracts and other agreements, of any reasonable duration, for detention or incarceration
12   space or facilities, including related services, on any reasonable basis.” GEO Opp’n at
13   17–18 (second and third alterations in original) (emphasis omitted). Again, this does not
14   clearly and manifestly reveal a congressional intent that ICE detainees be housed in private
15   detention facilities.
16          Although A.B. 32
17                 might at times be in tension with . . . [the] federal desire [to use
                   private detention facilities,] . . . the question to be answered by
18
                   the Court is not what preemption holding will produce the
19                 smoothest path for government. The Court is not a general
                   ombudsman, at liberty to fashion a preemption ruling that
20
                   accommodates priorities that appear to be important. The key
21                 question—the “touchstone”—is the intent of Congress.
22   Puente Ariz. v. Arpaio, No. CV-14-01356-PHX-DGC, 2016 WL 6873294, at *15 (D. Ariz.
23   Nov. 22, 2016) (citing Wyeth, 555 U.S. at 565; Medtronic, Inc., 518 U.S. at 485). Because
24   GEO has failed to establish a clear and manifest congressional intent that ICE house
25   immigration detainees in private detention facilities, the Court concludes that A.B. 32 is
26   not obstacle preempted as applied to GEO’s contracts with ICE.
27                              ii.    Federal Criminal Law
28          GEO argues that “AB-32 likewise conflicts with the Federal Government’s unique

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1    interest in enforcing federal criminal law.” GEO Mot. at 34. As with GEO’s contracts
2    with ICE, the Court must analyze whether A.B. 32, as applied to GEO in its contracts with
3    USMS, “stands as an obstacle to the accomplishment and execution of the full purposes
4    and objectives of Congress.” CTIA, 928 F.3d at 849 (quoting McClellan, 776 F.3d at 1039).
5          Section 4013 of Title 18 of the United States Code, which is central to the Court’s
6    inquiry, provides:
7                 The Attorney General, in support of United States prisoners in
                  non-Federal institutions, is authorized to make payments from
8
                  funds appropriated for Federal prisoner detention for . . . the
9                 housing, care, and security of persons held in custody of a United
                  States marshal pursuant to Federal law under agreements with
10
                  State or local units of government or contracts with private
11                entities.
12   18 U.S.C. § 4013(a)(3). Further, “[t]he United States Marshals Service may designate
13   districts that need additional support from private detention entities under [18 U.S.C.
14   § 4013](a)(3) based on--(A) the number of Federal detainees in the district; and (B) the
15   availability of appropriate Federal, State, and local government detention facilities.” Id.
16   § 4013(c)(1). However, “to be eligible for a contract for the housing, care, and security of
17   persons held in custody of the United States Marshals pursuant to Federal law and funding
18   under [14 U.S.C. § 4013](a)(3), a private entity shall,” among other things, “be located in
19   a district that has been designated as needing additional Federal detention facilities
20   pursuant to [18 U.S.C. § 4013(c)](1),” id. § 4013(c)(2)(A), and “comply with all applicable
21   State and local laws and regulations.” Id. § 4013(c)(2)(C).
22         The Court agrees with GEO that A.B. 32 stands as an obstacle to the execution of
23   the full purposes of Congress reflected in Section 4013. Congress clearly authorized
24   USMS to use private detention facilities in limited circumstances, such as where the
25   number of USMS detainees in a given district exceeds the available capacity of federal,
26   state, and local facilities. Although Congress plainly required private detention facilities
27   to “comply with all applicable State and local laws and regulations” to be “eligible” for a
28   contract with USMS in such districts, A.B. 32 would render no private detention facilities

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1    eligible to contract with USMS. A.B. 32 therefore forecloses USMS from contracting with
2    private detention facilities in those districts in which there does not exist sufficient
3    availability in federal, state, or local facilities, in contravention of Congress’ clear and
4    manifest objective that the option be available. Accordingly, the Court concludes that A.B.
5    32 is obstacle preempted as applied to GEO’s contracts with USMS.
6                        b.    The United States
7           According to the United States, A.B. 32 would “eliminate congressionally
8    authorized contracts for private detention facilities and jettison the Executive Branch’s
9    congressionally delegated discretion,” U.S. Mot. at 32 (citing Cal. Penal Code §§ 9501,
10   9505(a)), which would “defeat[] the purpose of Congress’s pervasive statutory framework”
11   because, “[w]hen Congress charges an agency with balancing competing objectives, it
12   intends the agency to use its reasoned judgment to weigh the relevant considerations and
13   determine how best to prioritize those objectives.” Id. (quoting CTIA, 928 F.3d at 849).
14   “‘Allowing a state law to impose a different standard’—or, worse, obviating the need for
15   congressionally prescribed balancing by eliminating an option altogether—violates the
16   Supremacy Clause.” Id. (quoting CTIA, 928 F.3d at 849) (citing Arizona, 567 U.S. at 406;
17   Crosby, 530 U.S. at 376–77).
18                             i.        BOP
19          For the reasons discussed above, see supra Section II.A, the Court concludes that
20   the United States has failed to establish a justiciable case or controversy as to whether A.B.
21   32 is preempted with respect to BOP’s privately contracted facilities. Even if the United
22   States did have standing, however, the Court would conclude that A.B. 32 is not obstacle
23   preempted as to those facilities.
24          With regard to Taft, the United States relies primarily on Section 3621(b), which
25   instructs:
26                The Bureau of Prisons shall designate the place of the prisoner’s
                  imprisonment, and shall, subject to bed availability, . . . place the
27
                  prisoner in a facility as close as practicable to the prisoner’s
28                primary residence, and to the extent practicable, in a facility

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1                 within 500 driving miles of that residence.
2    18 U.S.C. § 3621(b). Although the United States is correct that this provision reveals a
3    clear congressional objective that BOP detainees be housed “as close as practicable” to
4    their primary residence, it is not clear from the statutory text that Congress intended for
5    BOP to accomplish that objective through the use of private detention facilities. Further,
6    the directive is limited, among other things, by “bed availability.” To the extent A.B. 32
7    limits “bed availability” within the preferred zone of detention, Congress specifically has
8    authorized imprisonment at facilities further away.
9          The additional sources on which the United States relies are unavailing. Like
10   Section 3621, Section 530C(a)(4) fails to reveal a clear congressional intent that BOP use
11   private detention facilities. That statute provides:
12                Except to the extent provided otherwise by law, the activities of
                  the Department of Justice (including any bureau, office, board,
13                division, commission, subdivision, unit, or other component
14                thereof) may, in the reasonable discretion of the Attorney
                  General, be carried out through any means, including . . . through
15                contracts, grants, or cooperative agreements with non-Federal
16                parties.
17   28 U.S.C. § 530C(a)(4). Not only does Section 530(C) make no references to detention,
18   but “non-Federal parties” does not clearly and manifestly refer to private parties, let alone
19   private detention facilities.
20         Further, neither BOP’s contracting history nor the opinion from the Office of Legal
21   Counsel is relevant to the Court’s analysis. As the Supreme Court has long recognized—
22   and recently reiterated:
23                In all cases, the federal restrictions or rights that are said to
24                conflict with state law must stem from either the Constitution
                  itself or a valid statute enacted by Congress. “There is no federal
25                preemption in vacuo,” without a constitutional text, federal
26                statute, or treaty made under the authority of the United States.

27   Kansas, 140 S. Ct. at 801 (quoting P.R. Dep’t of Consumer Affairs v. Isla Petroleum Corp.,
28   485 U.S. 495, 503 (1988)) (citing Va. Uranium, Inc. v. Warren, 587 U. S. ___, 139 S. Ct.

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1    1894, 1901 (2019); U.S. Chamber of Comm. v. Whiting, 563 U.S. 582, 599 (2011)). BOP’s
2    contracting history—extensive as it may be—and the opinion of the Office of Legal
3    Counsel do not fit into any of these categories and, therefore, cannot establish
4    congressional intent, see, e.g., id. at 807 (“The Supremacy Clause gives priority to ‘the
5    Laws of the United States,’ not the . . . priorities or preferences of federal officers.”)
6    (quoting U.S. Const. Art. VI, cl. 2), which is “‘the ultimate touchstone’ in every pre-
7    emption case.” Medtronic, Inc., 518 U.S. at 485. Accordingly, the Court concludes that
8    federal criminal law does not obstacle preempt A.B. 32 as applied to BOP’s detention
9    facilities.
10          As for BOP’s RRCs, the United States relies primarily on two statutes, neither of
11   which reveals a clear and manifest congressional intent that BOP use private detention
12   facilities for RRCs. The first statute on which the United States relies provides:
13                   The Director of the Bureau of Prisons shall, to the extent
                     practicable, ensure that a prisoner serving a term of
14
                     imprisonment spends a portion of the final months of that term
15                   (not to exceed 12 months), under conditions that will afford that
                     prisoner a reasonable opportunity to adjust to and prepare for the
16
                     reentry of that prisoner into the community. Such conditions
17                   may include a community correctional facility.
18   18 U.S.C. § 3624(c)(1). The statute does not reveal a clear and manifest congressional
19   intent that the Director of BOP use privately operated detention facilities to achieve the
20   objective of “affording . . . prisoner[s] a reasonable opportunity to adjust to and prepare for
21   . . . reentry . . . into the community.” See id. Further, such opportunities are to be made
22   available “to the extent practicable.” See id.
23          The second statute on which the United States relies lays out certain “[d]iscretionary
24   conditions” of probation. 18 U.S.C. § 3563(b). Specifically, the United States points to
25   the fact that
26                   [t]he court may provide, as further conditions of a sentence of
                     probation, . . . that the defendant . . . remain in the custody of the
27                   Bureau of Prisons during nights, weekends, or other intervals of
28                   time, totaling no more than the lesser of one year or the term of

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1                 imprisonment authorized for the offense, during the first year of
                  the term of probation or supervised release,
2
3    id. § 3563(b)(10), or “reside at, or participate in the program of, a community corrections

4    facility (including a facility maintained or under contract to the Bureau of Prisons) for all

5    or part of the term of probation.” Id. § 3563(b)(11). This statute applies to the courts, not
6    BOP, and also is explicitly “[d]iscretionary.” See generally id. § 3563(b). In any event, to

7    the extent that it does reveal a congressional intent that BOP may maintain community
8    corrections facilities under contract with others, it does not clearly and manifestly reveal a

9    congressional intent that those facilities be under contract with the operators of private
10   detention facilities. Consequently, the Court concludes that A.B. 32 also is not obstacle

11   preempted as applied to BOP’s RRCs.

12                             ii.    USMS

13         Like GEO, the United States contends that A.B. 32 would “nullif[y]” Congress’

14   authorization that USMS may “‘designate districts that need additional support from

15   private detention entities’ based on its consideration of ‘the number of Federal detainees in

16   the district’ and ‘the availability of appropriate Federal, State, and local government
17   detention facilities.’” U.S. Mot. at 34 (quoting 18 U.S.C. § 4013(c)(1)). For the reasons

18   set forth above, see supra Section II.B.2.a.ii, the Court agrees. Accordingly, the Court
19   concludes that A.B. 32 is obstacle preempted as applied to the USMS’s contracts with

20   private detention centers pursuant to Section 4013(c)(1).
21                             iii.   ICE

22         Again, like GEO, the United States argues that A.B. 32 will “nullif[y] Congress’s

23   purpose in allowing ICE to rent ‘facilities adapted or suitably located for detention’ as a

24   first resort before ‘acquir[ing], build[ing], remodel[ing], repair[ing], and operat[ing]
25   facilities . . . necessary for detention.’”        U.S. Mot. at 34 (quoting 8 U.S.C.

26   § 1231(g)(1)–(2)) (second through sixth alterations in original). For the reasons discussed

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28   ///

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1    above, see supra Section II.B.2.a.i, the Court disagrees.14 The Court therefore concludes
2    that A.B. 32 is not obstacle preempted as applied to ICE’s contracts with private detention
3    centers.
4                                  iv.    Contract Options
5           Finally, the United States argues that “California’s obstruction of congressional
6    objectives is perhaps best illustrated by A.B. 32’s prohibition on extending any contracts
7    for private detention facilities, even when extensions are ‘authorized by th[ose]
8    contract[s].’” U.S. Mot. at 34–35 (quoting Cal. Penal Code § 9505(a)) (alterations in
9    original). The United States argues this is so because “Federal regulations specifically
10   authorize option provisions that allow the United States to unilaterally extend arrangements
11   with its contractors for a specified period,” and “the contractor is bound to perform during
12   the ‘option period’ if exercised by the Federal Government.” Id. at 35 (citing 48 C.F.R. §
13   17.208(f)–(g); 48 C.F.R. § 52.217-8; 48 C.F.R. § 52.217-9). This renders it “impossible
14   for federal contractors providing private detention services to comply with both their
15   obligations under the pre-negotiated contract (authorized by federal law) and California’s
16   attempt to ban contract extensions.” Id.
17          In the absence of clear and manifest congressional intent that BOP or ICE contract
18   with private detention facilities, A.B. 32 does not unconstitutionally impede the United
19   States’ contracting ability. Further, the Court agrees with Defendants that the federal
20   contract procurement regulations—which nowhere require contracts with private detention
21   facilities to house BOP or ICE detainees or extensions of such contracts—do not conflict
22   preempt A.B. 32.
23                  3.     Field Preemption
24          The United States additionally contends that A.B. 32 is field preempted. See U.S.
25
26   14
       The additional authorities cited by the United States, consisting mainly of regulations promulgated by
     DHS, do not reveal a clear and manifest congressional intent that ICE use private detention facilities to
27   house immigration detainees. That DHS has “promulgated numerous regulations predicated on [its
28   perceived] authority,” see U.S. Opp’n at 24–25, does not mean that the Court should find a clear and
     manifest congressional intent where one is lacking.

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1    Compl. ¶ 63. “States are precluded from regulating conduct in a field that Congress, acting
2    within its proper authority, has determined must be regulated by its exclusive governance.”
3    Arizona, 567 U.S. at 399 (citing Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 115
4    (1992) (Souter, J., dissenting)). The Supreme Court has instructed:
5                 The intent to displace state law altogether can be inferred from a
                  framework of regulation “so pervasive . . . that Congress left no
6
                  room for the States to supplement it” or where there is a “federal
7                 interest . . . so dominant that the federal system will be assumed
                  to preclude enforcement of state laws on the same subject.”
8
9    Id. (alterations in original) (quoting Rice, 331 U.S. at 230) (citing English, 496 U.S. at 79).
10   The Supreme Court recently noted that field preemption has been found “[i]n rare cases.”
11   See Garcia, 140 S. Ct. at 804.
12                       a.     The Relevant Field
13         “[T]o determine whether Congress has implicitly ousted the States from regulating
14   in a particular field, [a court] must first identify the field in which this is said to have
15   occurred.” Kansas, 140 S. Ct. at 804. “Because ‘Congress must clearly manifest an
16   intention’ to ‘enter and completely absorb the field’ in order to preclude state regulation in
17   that field . . . , it is necessary to delineate ‘the pertinent regulatory field’ with
18   specificity.” Knox, 907 F.3d at 1174 (quoting Ry. Mail Ass’n, 326 U.S. at 97; Nat’l Fed’n
19   of the Blind v. United Airlines Inc., 813 F.3d 718, 734 (9th Cir. 2016)). The Parties agree
20   that the pertinent field must be defined “with specificity.” See MJP at 16 (citing Knox, 907
21   F.3d at 1173–74); U.S. Opp’n at 18 n.9 (citing Nat’l Fed’n, 813 F.3d at 734, 737; Martin
22   ex rel. Heckman v. Midw. Express Holdings, Inc., 555 F.3d 806, 812 (9th Cir. 2009); Novoa
23   v. GEO Grp., Inc., No. EDCV 17-2514 JGB (SHKx), 2018 WL 3343494, at *4 (C.D. Cal.
24   June 21, 2018); Bernstein v. Virgin Am., Inc., 227 F. Supp. 3d 1049, 1071 (N.D. Cal.
25   2017)). Indeed, “Courts tasked with delineating the pertinent regulatory field have tailored
26   it narrowly.” Helicopters for Agric. v. Cty. of Napa, 384 F. Supp. 3d 1035, 1041 (N.D.
27   Cal. 2019) (citing Martin, 555 F.3d at 811).
28   ///

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1            Not surprisingly, given the importance of the inquiry, the United States and
2    Defendants advocate for different definitions of the relevant field. Defendants argue that
3    “AB 32 affects two fields in which Congress has legislated: (1) the operation of
4    immigration detention facilities and (2) the operation of criminal detention facilities.” MJP
5    at 16; see also MJP Reply at 6. The United States, on the other hand, contends that the
6    relevant field is “contracting for federal prisoner and detainee housing.” MJP Opp’n at 14,
7    15. Defendants respond that the United States’ proffered field is incorrect for two reasons.
8    See MJP Reply at 6–7. First, “AB 32 regulates private persons’ operation of detention
9    facilities,” meaning “AB 32’s potential effect on the federal government’s future
10   contracting practices does not make contracting the subject of the state law.” Id. at 6 (citing
11   Cal. Penal Code § 9501). “Second, there is no single ‘field’ of federal statutes governing
12   both immigration and criminal detention facilities,” as “Congress has created separate
13   statutory schemes to regulate them in Titles 8 and 18, respectively, because they serve
14   entirely different purposes, one civil and one criminal.” Id. at 6–7. Defendants urge that
15   the United States should not be allowed to merge disparate legislative fields “to create the
16   illusion of ‘density and detail.’” Id. at 7 (quoting Nat’l Fed’n of the Blind, 813 F.3d at
17   734).
18           On balance, the Court concludes that Defendants have the better argument. First,
19   although the Court agrees with the United States that the relevant field must be determined
20   based on federal statutes, not A.B. 32, see Tr. at 63:23–64:5; cf. MJP Reply at 6 (citing
21   Knox, 907 F.3d at 1174),15 the Court agrees with Defendants that the United States’
22   emphasis on contracting is misplaced. See MJP Reply at 6 (“[Under the United States’
23   argument], a federal agency could argue that any state regulation is preempted merely
24   because the federal government may wish to enter into a contract that is [in] any arguable
25   way affected by the regulation.”) (emphasis in original). Second, the United States’
26
27   15
       Indeed, Knox instructs that the Court must determine the field that “Congress intended to occupy by
28   enacting the [pertinent s]tatutes.” 907 F.3d at 1177 (emphasis added) (citing Nat’l Fed’n of the Blind, 813
     F.3d at 734).

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1    proposed field would have the Court comb through various provisions of Titles 8, 18, and
2    28 to the United States Code.16 The Supreme Court has cautioned, however, that “[i]mplied
3    preemption analysis does not justify a ‘freewheeling judicial inquiry into whether a state
4    statute is in tension with federal objectives.’” See Whiting, 563 U.S. at 607. By defining
5    the field broadly enough to encompass both civil and criminal detention statutes and
6    regulations, the United States invites the Court to engage in such an erroneous and
7    freewheeling inquiry. Consequently, the Court concludes that the pertinent fields are
8    (1) ICE’s housing of immigration detainees and (2) USMS’s and BOP’s housing of federal
9    prisoners.
10                          b.     Dominant Federal Interest
11          As discussed above, “[t]he intent to displace state law altogether can be inferred . . .
12   where there is a ‘federal interest . . . so dominant that the federal system will be assumed
13   to preclude enforcement of state laws on the same subject.’” Arizona, 567 U.S. at 399
14   (quoting Rice, 331 U.S. at 230). The United States claims “at least three dominant federal
15   interests preclude A.B. 32: (1) the Federal Government’s prerogative to provide for those
16   in its custody, (2) the federal power over foreign relations and immigration, and (3) the
17   United States’ authority to control rights and obligations under its contracts.” U.S. Opp’n
18   at 15 (citing U.S. Mot. at 23–25). The United States urges that, “[i]ndividually or
19   combined, these dominant federal interests preempt the field of contracts for federal
20   prisoner and detainee housing.” Id. at 17.
21                                 i.      Federal Custody
22          As for its first purportedly dominant interest, the United States contends that A.B.
23   32 “would impermissibly encroach on the United States’ sovereign prerogative to house
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       At the hearing, the United States argued that “it doesn’t matter if the federal field goes across how you
26   look at the U.S. Code or across different Acts.” Tr. at 64:7–9. Specifically, the United States cited United
     States v. Locke, 529 U.S. 89 (2000), which regulated oil tankers, and Knox, 907 F.3d 1167, which
27   concerned a single statute codified across different Titles about the postal monopoly. See Tr. at 64:9–17.
28   That other courts have looked across Titles of the United States Code in defining a relevant field, however,
     does not mean that doing so would be appropriate here, where there are two distinct legislative fields.

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1    its own prisoners and detainees by nullifying the Executive Branch’s decision to use a
2    congressionally authorized housing option.” U.S. Opp’n at 15 (citing U.S. Mot. at 23).
3    Defendants respond that there can be no preemption as to USMS-contracted detention
4    facilities because “Congress has expressly subjected those facilities to state regulation such
5    as AB 32.”17 MJP Reply at 8 (citing 18 U.S.C. § 4013(c)(2)(C)).
6           While the federal interest in the housing of the United States’ prisoners and detainees
7    is undeniably substantial, the Court cannot conclude that it is to the exclusion of the states.
8    Indeed, in discussing ICE detention facilities in California, the Ninth Circuit recently
9    acknowledged that “California possesses the general authority to ensure the health and
10   welfare of inmates and detainees in facilities within its borders.” See California, 921 F.3d
11   at 886. Further, as Defendants note, see MJP Reply at 8, this conclusion is bolstered by
12   Congress’ express recognition that private detention facilities holding those in USMS
13   custody could be subject to further state and local regulations.                See 18 U.S.C.
14   § 4013(c)(2)(C). Accordingly, the Court concludes that the federal interest in housing its
15   prisoners and detainees does not impliedly preempt A.B. 32.
16                              ii.    Foreign Relations/Immigration
17          The United States also contends that “A.B. 32 interferes with the dominant federal
18   interest in foreign relations and immigration,” U.S. Opp’n at 16 (citing U.S. Mot. at
19   24–25), because “it can neither adequately control the safety and security of aliens in its
20   custody, nor communicate effectively with foreign countries as ‘one national sovereign,’
21   if States like California are allowed to dictate how and where the United States may house
22   such individuals.” Id. (citing U.S. Mot. at 24 (quoting Arizona, 567 U.S. at 395)).
23   Defendants counter that “the federal interest in the operation of immigration detention
24   facilities does not ‘preclude enforcement of state laws on the same subject.’” MJP Reply
25   at 7 (quoting Puente Ariz., 821 F.3d at 1103) (citing California, 921 F.3d at 875–76). In
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       Because Defendants challenge the United States’ standing regarding its BOP facilities, see supra
     Section II.A, they raise no substantive argument as to BOP. See MJP Reply at 8.

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1    any event, “AB 32 does not regulate th[e] field [of the Federal Government’s exclusive
2    immigration power relating to who may enter and remain in the country]; it merely
3    exercises the state’s police power to protect detainees from private actors.” Id.
4          The Court agrees with Defendants. It is clear from the face of A.B. 32 that it does
5    not regulate either foreign relations or immigration—it regulates only the operation of
6    private detention facilities in California. See Cal. Penal Code § 9501. In any event, as
7    discussed above, see supra Section II.B.3.b.i, the United States’ substantial interest in the
8    operation of detention facilities does not preclude California from enacting any legislation
9    in that area. See California, 921 F.3d at 886. Accordingly, the Court concludes that the
10   federal interest in foreign relations and immigration does not preempt A.B. 32.
11                             iii.   Federal Contracting
12         Finally, the United States argues that “the United States has a dominant federal
13   interest in controlling obligations to and rights of the United States under its contracts.”
14   U.S. Opp’n at 17. Defendants respond that “AB 32 does not purport to prohibit the federal
15   government from doing anything, including entering into contracts,” MJP Reply at 2, and
16   that “AB 32’s potential effect on the federal government’s future contracting practices does
17   not make contracting the subject of the state law.” Id. at 6.
18         Again, the Court agrees with Defendants.         A.B. 32 does not regulate federal
19   contracting, but rather the operation of private detention facilities within California, see
20   Cal. Penal Code § 9501, and any incidental effect on the Federal Government’s contracting
21   interests does not suffice to establish field preemption. See, e.g., Knox, 907 F.3d at
22   1177–78. Accordingly, the Court concludes that the United States’ interest in federal
23   contracting does not preempt A.B. 32.
24                      c.     Pervasive Regulation
25         Field preemption also “can be inferred from a framework of regulation ‘so pervasive
26   . . . that Congress left no room for the States to supplement it.’” Arizona, 567 U.S. at 399
27   (alteration in original) (quoting Rice, 331 U.S. at 230). “Outside of the[] areas [of
28   immigration, air safety, labor disputes, and pension disputes], field preemption is rare.” In

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1    re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Practices, & Prod. Liab. Litig., 295 F.
2    Supp. 3d 927, 1001 (N.D. Cal. 2018). “In addition, the mere fact that a federal scheme is
3    comprehensive is insufficient for a finding of field preemption, which arises only in
4    extraordinary situations.” Valentine v. NebuAd, Inc., 804 F. Supp. 2d 1022, 1029 (N.D.
5    Cal. 2011) (quoting In re NSA Telcomms. Records Litig., 483 F. Supp. 2d 934, 938 (N.D.
6    Cal. 2007) (quoting Wayne v. DHL Worldwide Express, 294 F.3d 1179, 1184 (9th Cir.
7    2002))) (internal quotation marks omitted).
8          The United States argues that “[s]tate regulations of contracts for federal prisoner
9    and detainee housing, like A.B. 32, are . . . field preempted because there is ‘a framework
10   of regulation so pervasive that Congress left no room for the States to supplement it.’” U.S.
11   Opp’n at 18 (quoting Arizona, 567 U.S. at 399). According to the United States, “[t]hat
12   framework could not be any clearer: Congress explicitly delegated to the Executive Branch
13   full authority over federal prisoner and detainee housing and provided a full set of standards
14   for USMS, BOP, and ICE to use in contracting for private detention facilities.” Id. (citing
15   U.S. Mot. at 26–31).
16                              i.     ICE
17         The United States relies primarily on 8 U.S.C. § 1231 to support its argument that
18   Congress has occupied the field of contracting for immigration detainee housing. In
19   Section 1231, Congress directed that “[t]he [Secretary of Homeland Security] shall arrange
20   for appropriate places of detention for aliens detained pending removal or a decision on
21   removal” and may rent “facilities adapted or suitable located for detention.” U.S. Opp’n
22   at 18 (quoting 8 U.S.C. § 1231(g)(1)). Further, “the Secretary may ‘acquire, build,
23   remodel, repair, and operate facilities . . . necessary for detention,’ but must first ‘consider
24   the availability for purchase or lease of any existing prison, jail, detention center, or other
25   comparable facility suitable for such use.’” Id. (quoting 8 U.S.C. § 1231(g)(1)–(2))
26   (alteration in original). Defendants rejoin that “Congress has not clearly and manifestly
27   occupied the field of immigration detention operations” because “[i]t has enacted only a
28   handful of statutes that merely provide federal agencies with the general authority to

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1    operate their own detention facilities and to contract with states to operate (and regulate)
2    facilities for them,” MJP Reply at 7 (citing 8 U.S.C. §§ 1231(g)(1), 1103(a)(11)), which
3    “are far from ‘pervasive,’ ‘dens[e]’ or ‘detail[ed],’” id. (quoting Rice., 331 U.S. at 230;
4    Nat’l Fed’n of the Blind, 813 F.3d at 734) (alterations in original), and “do not constitute a
5    ‘full set of standards’ that could be threatened by AB 32.” Id. (quoting U.S. Opp’n at 19).
6          The Court agrees with Defendants that Congress has not occupied the field of
7    housing immigration detainees. Section 1231 can hardly be said to set forth a framework
8    “so pervasive that Congress left no room for the States to supplement it.” See Arizona, 567
9    U.S. at 399. Instead, it merely tasks the Attorney General with arranging for “appropriate
10   places of detention,” see 8 U.S.C. § 1231(g)(1), and expresses a preference that existing
11   facilities be rented or purchased before new facilities are built. See id. §§ 1231(g)(1)–(2).
12   No mention is made of who should operate such facilities, in what manner they should be
13   operated, or any number of additional details. The authorities cited by the United States
14   therefore “do not amount to ‘pervasive’ regulations of” the housing of immigration
15   detainees. See Parver v. Jet Blue Airlines Corp., 649 F. App’x 539, 543 (9th Cir. 2016)
16   (citing Gilstrap v. United Air Lines, 709 F.3d 995, 1006 (9th Cir. 2013)); see also Trishan
17   Air, Inc. v. Dassault Falcon Jet Corp., No. CV 08-7294-VBF(JTLX), 2011 WL 13186258,
18   at *2 (C.D. Cal. May 17, 2011) (“[T]he regulations cited by [the defendant]
19   do not sufficiently show such pervasive federal regulation in the area of flight training so
20   as to preempt all claims based on negligent instruction under state standards of
21   care.”) (citing Martin, 555 F.3d 806; 14 C.F.R. §§ 142.35–142.39); Hitt v. Ariz. Beverage
22   Co., LLC, No. 08 CV 809 WQH (POR), 2009 WL 449190, at *5 (S.D. Cal. Feb. 4, 2009)
23   (“[T]here is nothing in the statutory provisions of [the Federal Food, Drug, and Cosmetic
24   Act], its implementing regulations or its legislative history to suggest that Congress
25   intended to exclusively occupy the field of labeling beverages that purport to contain fruit.
26   The Court finds that this scheme of regulation is not so pervasive as to make reasonable
27   the inference that Congress left no room for the States to supplement it.”) (internal
28   quotation marks omitted). Accordingly, the Court concludes that A.B. 32 is not field

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1    preempted by existing statutes and regulations concerning the housing of ICE’s
2    immigration detainees.
3                               ii.   BOP
4          The United States notes that “Congress explicitly delegated BOP the authority to
5    ‘designate the place of . . . imprisonment’ for persons sentenced to incarceration, including
6    ‘any available penal or correctional facility . . . whether maintained by the Federal
7    Government or otherwise.’” U.S. Opp’n at 20 (quoting 18 U.S.C. §§ 3621(b), 4042).
8    Congress set forth several factors that BOP was to consider in making such determinations,
9    id. (citing U.S. Mot. at 28), including “‘bed availability,’ the ‘prisoner’s security
10   designation,’ the ‘prisoner’s programmatic needs,’ the ‘prisoner’s mental and medical
11   health needs,’ the ‘resources of the facility contemplated,’ and most importantly, ‘the
12   prisoner’s primary residence.’” U.S. Mot. at 28 (quoting 18 U.S.C. § 3621(b)). Further,
13   Congress
14                explicitly commanded that BOP “shall, to the extent practicable,”
                  ensure that a federal prisoner “serving a term of imprisonment
15
                  spends a portion of the final months of that term (not to exceed
16                12 months), under conditions that will afford that prisoner a
                  reasonable opportunity to adjust to and prepare for the reentry of
17
                  that prisoner into the community.”
18
19   U.S. Opp’n at 20 (quoting 18 U.S.C. § 3624(c)). According to the United States, “‘[t]he[se]
20   federal statutory directives provide a full set of standards governing’ contracting for federal
21   prisoner housing.” Id. (quoting Arizona, 567 U.S. at 401) (second alteration in original).
22         The Court has concluded that there currently is no justiciable controversy as to the
23   United States’ BOP facilities, see supra Section II.A; nonetheless, the United States’ field
24   preemption arguments concerning BOP fare no better than those pertaining to ICE: the
25   United States has failed to identity legislation or regulations relating to the detention of
26   federal BOP prisoners that are so pervasive that Congress left no room for the states to
27   supplement them. Accordingly, the Court concludes that A.B. 32 is not field preempted
28   by existing statutes and regulations concerning the detention of BOP prisoners.

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1                               iii.   USMS
2          Finally, as to USMS, the United States relies primarily on 18 U.S.C. § 4013. The
3    United States notes that, “in ‘support of United States prisoners in non-Federal
4    institutions,’ Congress specifically authorized the Attorney General to fund USMS custody
5    of individuals ‘under agreements with State or local units of government or contracts with
6    private entities.’” U.S. Mot. at 26–27 (quoting 18 U.S.C. § 4013(a)). Consequently, USMS
7    “may designate districts that need additional support from private detention entities under
8    subsection (a)(3) based on— . . . the number of Federal detainees in the district; and . . .
9    the availability of appropriate Federal, State, and local government detention facilities.”
10   Id. at 27 (quoting 18 U.S.C. § 4013(c)(1)); see also, e.g., U.S. Opp’n at 20 n.12.
11         Although the Court already has concluded that A.B. 32 is conflict preempted as to
12   USMS’s use of private detention facilities, see supra Section II.B.2.b.ii, the Court agrees
13   with Defendants that there is no field preemption in this area. As Defendants note, see
14   MJP Reply at 8, the primary statute on which the United States relies expressly
15   contemplates that state and local governments may legislate and regulate such private
16   detention facilities. See 18 U.S.C. § 4013(c)(2)(C). This would tend to suggest that
17   Congress did not intend to occupy the field of the private detention of USMS detainees.
18   See, e.g., In re Rader, 488 B.R. 406, 411 (B.A.P. 9th Cir. 2013) (“By explicitly
19   incorporating other ‘applicable law,’ § 502(b)(1) demonstrates that Congress did not intend
20   the Bankruptcy Code thoroughly to occupy the field related to the claims allowance
21   process.”); Familias Unidas por la Justicia v. Sakuma Bros. Farms, Inc., No. C14-737-
22   MJP, 2014 WL 2154382, at *3 (W.D. Wash. May 22, 2014) (“Consistent with the statute
23   and its regulation’s incorporation of and reference to other laws applying to H-2A workers,
24   numerous federal courts have rejected the notion that [the Immigration Reform and Control
25   Act of 1986] occupies the entire regulatory field of immigrants and/or immigrant
26   workers.”) (collecting cases). In any event, the United States again fails to identify statutes
27   or regulations so pervasive as to imply that Congress left no room for supplemental state
28   regulation. Accordingly, the Court concludes that A.B. 32 is not field preempted by

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1    existing statutes and regulations concerning the detention of USMS prisoners.
2           C.      Intergovernmental Immunity
3           Under the doctrine of intergovernmental immunity, “[a] state regulation is invalid
4    only if it regulates the United States directly or discriminates against the Federal
5    Government or those with whom it deals.” North Dakota v. United States, 495 U.S. 423,
6    435 (1990) (plurality opinion) (citing South Carolina v. Baker, 485 U.S. 505, 523
7    (1988); United States v. Fresno Cty., 429 U.S. 452, 460 (1977)). GEO and the United
8    States allege that A.B. 32 violates intergovernmental immunity principles on both grounds.
9    See GEO Compl. ¶¶ 111–24; see U.S. Compl. ¶¶ 66–69.
10                  1.     Direct Regulation
11          Both GEO and the United States allege that A.B. 32 directly regulates the United
12   States in contravention of intergovernmental immunity. See GEO Compl. ¶¶ 114–18; U.S.
13   Compl. ¶ 67. Defendants contend that A.B. 32 does not directly regulate the Federal
14   Government because, by its plain language, “it is a regulation of private persons in
15   California,” MTD at 10; MJP at 8, and any indirect regulation of or burden on the Federal
16   Government does not constitute direct regulation. See MTD at 10–11, 12 (citing North
17   Dakota, 495 U.S. at 435); MJP at 10 (citing North Dakota, 495 U.S. at 435). Plaintiffs
18   counter that A.B. 32 is a direct regulation of the United States because it directly regulates
19   federal contractors and federal operations. See GEO Opp’n at 1–6; U.S. Opp’n at 3–8.
20          Following the hearing, the Court requested additional briefing on the issue, in
21   particular “(1) on whom the legal incidence of A.B. 32 falls[ and] (2) whether GEO (or any
22   other private contractor with whom the Federal Government contracts for detention
23   services) is a federal instrumentality.”18 ECF No. 45 at 1. Relying heavily on the Ninth
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        The Court also requested additional briefing on “whether privately operated federal detention
26   facilities—whether privately or federally owned—are federal installations.” GEO ECF No. 45 at 1–2
     (footnote omitted). Because a federal installation is a “federally owned facility performing a federal
27   function,” Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 181 (1988), this inquiry is relevant only to the
28   two federally-owned facilities at issue here: BOP’s Taft and USMS’s El Centro. See U.S. Compl. ¶¶ 29,
     41; Tr. at 32:19–33:9. Because the Court has concluded that there is no justiciable controversy as to Taft,

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1    Circuit’s decision in Boeing Company v. Movassaghi, 768 F.3d 832 (9th Cir. 2014),
2    Plaintiffs express skepticism that the legal incidence test applies outside the tax context,
3    see GEO Add’l Br. at 2–6; U.S. Add’l Br. at 6–7, but nonetheless contend that the legal
4    incidence of A.B. 32 falls on GEO and the United States. See GEO Add’l Br. at 6–7; U.S.
5    Add’l Br. at 6. They also urge that, to the extent it is even relevant, federal contractors
6    operating private detention facilities for the Federal Government are federal
7    instrumentalities for purposes of A.B. 32. See GEO Add’l Br. at 8–9; U.S. Add’l Br. at 6
8    n.5. Defendants counter that the legal incidence of A.B. 32 is borne only by private
9    detention contractors, see Defs.’ Add’l Br. at 2, 4, and that private detention contractors
10   such as GEO are not federal instrumentalities. See id. at 7–11.
11          As an initial matter, although Plaintiffs contend that tax cases are not applicable here,
12   see GEO Add’l Br. at 2–6, U.S. Add’l Br. at 6–7, this distinction does not appear to be
13   borne out by Supreme Court precedent.                  See, e.g., 1 Laurence H. Tribe, American
14   Constitutional Law § 6–34, 1225–26 (3d ed. 2000) (“[S]tate taxes and regulations are
15   subject to the same restrictions under the federal immunity doctrine.”) (quoting North
16   Dakota, 495 U.S. at 454 n.3 (Brennan, J., concurring in the judgment in part and dissenting
17   in part)) (citing North Dakota, 495 U.S. at 435; Mayo v. United States, 319 U.S. 441, 445
18   (1943)); David S. Rubenstein, Supremacy, Inc., 67 UCLA L. Rev 4, at 74 n.361 (2020)
19   (“[T]he Supreme Court’s decisions do not draw discernable distinctions between state tax
20   laws and state regulations [for purposes of intergovernmental immunity]; the Court cites
21   the cases interchangeably.”) (citing Mayo, 319 U.S. at 446–48). Because there is a greater
22   wealth of intergovernmental immunity authority concerning state tax regulations, the Court
23   ///
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     see supra Section II.A, and that A.B. 32 is conflict preempted as to USMS facilities, see supra Sections
26   II.B.2.a.ii, II.B.2.b.ii, the Court declines to wade into the quagmire of federally owned facilities. Further,
     given Defendants’ admission at the hearing that they “do not contend that [A.B. 32] applies to contractors
27   who operate facilities that are federally owned,” see Tr. at 43:8–14, any challenge to federally owned
28   facilities would suffer the same justiciability defects identified with regard to the United States’ BOP
     facilities. See supra Section II.A.

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1    therefore looks to those cases to supplement state regulation cases in determining whether
2    A.B. 32 is a direct regulation of the United States.
3          In addressing direct-regulation immunity, the United States Supreme Court has
4    recognized that, “in the absence of congressional consent, there is an implied constitutional
5    immunity of the national government from state taxation and from state regulation of the
6    performance, by federal officers and agencies, of governmental functions.” Penn Dairies
7    v. Milk Control Comm’n of Pa., 318 U.S. 261, 269 (1943) (collecting cases). However,
8    the Supreme Court has also cautioned that
9                    those who contract to furnish supplies or render services to the
                     government are not such agencies and do not perform
10
                     governmental functions . . . , and the mere fact that non-
11                   discriminatory taxation or regulation of the contractor imposes
                     an increased economic burden on the government is no longer
12
                     regarded as bringing the contractor within any implied immunity
13                   of the government from state taxation or regulation.
14   Id. at 269–70 (citations omitted) (collecting cases). Rather, to enjoy the benefits of such
15   immunity, the contractor must serve as an “instrumentality so closely connected to the
16   Government that the two cannot realistically be viewed as separate entities, at least insofar
17   as the activity being [regulated] is concerned.” See United States v. New Mexico, 455 U.S.
18   720, 735 (1982); accord North Dakota, 495 U.S. at 435 (“A state regulation is invalid only
19   if it regulates the United States directly or discriminates against the Federal Government
20   or those with whom it deals.”) (citing South Carolina, 485 U.S. at 523; Fresno Cty., 429
21   U.S. at 460).
22         Under the legal incidence test, the wording of A.B. 32 is significant: “The
23   Constitution . . . does not forbid a [regulation] whose legal incidence is upon a contractor
24   doing business with the United States, even though the economic burden of the [regulation]
25   . . . is ultimately borne by the United States.” United States v. Boyd, 378 U.S. 39, 44
26   (1964); see also United States v. Nye Cty., 178 F.3d 1080, 1084 (9th Cir. 1999) (“Nye Cty.
27   II”) (“[T]he wording of a [state regulation] is significant.”) (quoting United States v. Nye
28   Cty., 938 F.2d 1040, 1042 (9th Cir. 1991) (“Nye Cty. I”)). GEO’s argument concerning

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1    what A.B. 32 “may as well have read” is therefore inconsequential. See Tr. at 50:24–51:6
2    (“[A.B. 32] may as well have read as follows: the Federal Government shall not contract
3    with a private for-profit entity for the operation of a detention facility in California. That
4    would reword the prohibition to focus directly on the Federal Government, but it wouldn’t
5    change its impact one bit, and so that would be a very direct regulation.”); see also Nye
6    Cty. II., 178 F.3d at 1085; see also id. at 1084–86, 1089 (concluding that statute previously
7    found unconstitutional as a direct tax on federal property was constitutional when rewritten
8    to “shift[] the subject of the taxes from the property itself to the beneficial use of that
9    property” because “it [i]s the language of the . . . statute . . . that [i]s critical to the result”).
10   As GEO itself recognizes, A.B. 32, as written, “focuses on the person operating the
11   facility.” See Tr. at 50:20–21. In other words, the legal incidence of A.B. 32 is on those
12   operating private detention facilities, such as GEO, rather than directly on the United
13   States. Consequently, the only way that A.B. 32 can be a direct regulation of the United
14   States is if those operating detention facilities under contract with the United States qualify
15   as instrumentalities of the Federal Government.
16          The Court concludes that Plaintiffs have not carried their burden to establish this.
17   To meet their burden, Plaintiffs must demonstrate that federal contractors operating
18   detention facilities are “so closely connected to the Government that the two cannot
19   realistically be viewed as separate entities.” New Mexico, 455 U.S. at 735. In other words,
20   GEO (and its compatriots) “must actually ‘stand in the Government’s shoes,’” id. at 736
21   (quoting City of Detroit v. Murray Corp., 355 U.S. 489, 491 (1958) (Frankfurter, J.)), or
22   be “so assimilated by the Government as to become one of its constituent parts.” Id.
23   (quoting Boyd, 378 U.S. at 47 (quoting United States v. Muskegon Twp., 355 U.S. 484, 486
24   (1958))); see also id. at 736–37 (“The Court’s other cases describing the nature of a federal
25   instrumentality have used similar language: ‘virtually . . . an arm of the Government,’ . . .
26   ‘integral parts of [a governmental department,’ and ‘arms of the Government deemed by it
27   essential for the performance of governmental functions.’”) (first and third alterations in
28   original) (citation omitted) (quoting Dep’t of Emp’t v. United States, 385 U.S. 355, 359–

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1    60 (1966); Standard Oil Co. v. Johnson, 316 U.S. 481, 485 (1942)). Although GEO is
2    correct that “[t]here is no simple test for ascertaining whether an institution is so closely
3    related to government activity as to become a tax-immune instrumentality,” GEO Add’l
4    Br. at 8 (quoting Dep’t of Emp’t, 385 U.S. at 358–59), Defendants identify several factors
5    used by the Supreme Court and Ninth Circuit in prior cases. See Defs.’ Add’l Br. at 7–9
6    (collecting cases).
7          Although decided in a different context, Logue v. United States, 412 U.S. 521
8    (1973), is illuminating. In Logue, the plaintiffs sued the United States under the Federal
9    Tort Claims Act (“FTCA”) to recover for the wrongful death of their son, who had hanged
10   himself while incarcerated in a county jail that had contracted with BOP to house federal
11   prisoners. Id. at 522–23. To be liable under the FTCA, the employees of the county jail
12   would have to be employees of the Federal Government or a “corporation[] primarily
13   acting as [an] instrumentalit[y] or agenc[y] of the United States.” See id. at 526 (quoting
14   28 U.S.C. § 2671). The Court rejected the plaintiffs’ contentions that the “County jail is a
15   ‘Federal agency’ by reason of its contract for the care of federal prisoners, or that the
16   employees of the jail are ‘acting on behalf of’ the Bureau of Prisons or the Government in
17   performing services for federal prisoners.” Id. In so concluding, the Court reasoned that,
18   pursuant to the contract between the county and the Federal Government, “[t]he county
19   undertakes to provide custody in accordance with the Bureau of Prison’s ‘rules and
20   regulations governing the care and custody of persons committed’ under the contract . . .
21   [, b]ut the agreement gives the United States no authority to physically supervise the
22   conduct of the jail’s employees.” Id. at 530. Ultimately, the Court was “not persuaded that
23   employees of a contractor with the Government, whose physical performance is not subject
24   to governmental supervision, are to be treated as ‘acting on behalf of’ a federal agency
25   simply because they are performing tasks that would otherwise by performed by salaried
26   employees of the Government.” See id. at 531–32.
27         As in Logue, GEO contends that it is an instrumentality of the Federal Government
28   because it houses federal detainees and is subject to specific rules and regulations,

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1    including the Federal Performance-Based Detention Standards, see GEO Add’l Br. at 8–9;
2    however, under Supreme Court precedent, this does not suffice. See Logue, 532 U.S. at
3    526, 531–32. Further, neither GEO’s Complaint, see generally GEO Compl., nor the
4    relevant contracts,19 demonstrate that the United States has “authority to physically
5    supervise the conduct of the jail’s employees.” Logue, 412 U.S. at 530.
6           Boyd is also instructive. In Boyd, Tennessee imposed sales and use taxes on
7    purchases made by two companies contracting with the Atomic Energy Commission. See
8    378 U.S. at 40–41. One of the contractors “manage[d], operate[d], and maintain[ed] the
9    [federal nuclear] plants and facilities,” id. at 41–42, while the other “perform[ed]
10   construction services relating both to new facilities and to the modification of the existing
11   plant.” Id. at 42–43. The contractors and the United States contended that the contractors
12   should be entitled to immunity from the taxes because their “use of government property
13   [wa]s . . . a use exclusively for the benefit of the United States.” See id. at 44. The Court
14   rejected that the contractors were “so assimilated by the Government as to become one of
15   its constituent parts,” id. at 47 (quoting Muskegon Twp., 355 U.S. at 486), noting:
16                  No one suggests that either [contractor] has put profit aside in
                    contracting with the Commission[;] that the fee of either
17
                    company is not set with commercial, profit-making
18                  considerations in mind[;] or that the operation of either company
                    at [the federal nuclear facility] were not an important part of their
19
                    regular business operations.
20
21   Id. at 45. Indeed, “‘[t]he vital thing’ is that [the contractors] ‘w[ere] using the property in
22   connection with [their] own commercial activities.’” Id. (quoting Muskegon Twp., 355
23   U.S. at 486). The Court added:
24   ///
25
26   19
       GEO attached excerpts of the relevant contracts to its Complaint. See generally GEO ECF No. 15-5
     Exs. A–E. GEO’s counsel indicated at the hearing that it would lodge copies of the full contracts with the
27   Court, see Tr. at 20:4–22:3, and on September 25, 2020, the Court issued an order requesting the
28   unexcerpted contracts. See ECF No. 52. The Court has reviewed the full contracts that were electronically
     submitted by GEO’s counsel on October 1, 2020.

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1                 Should the Commission intend to build or operate the plant with
                  its own servants and employees, it is well aware that it may do
2
                  so and familiar with the ways of doing it. It chose not to do so
3                 here. [The Court] cannot conclude that [the contractors], both
                  cost-plus contractors for profit, have been so incorporated into
4
                  the government structure as to become instrumentalities of the
5                 United States and thus enjoy governmental immunity.
6    Id. at 48. Ultimately, the Court concluded, “[i]f the[ taxes] unduly intrude upon the
7    business of the Nation, it is for Congress, in the valid exercise of its powers, not this Court,
8    to make the desirable adjustment.” Id. at 51.
9          So, too, here—BOP’s, ICE’s, and USMS’s decisions to outsource work to private
10   detention facilities does not transform those contractors into instrumentalities of the
11   Federal Government. Ultimately, GEO and other private detention facility operators are
12   pursuing their “own private ends—in connection with commercial activities carried on for
13   profit.” See id. at 44; see also id. at 48. The Court therefore concludes that A.B. 32 does
14   not directly regulate the United States in violation of the intergovernmental immunity
15   doctrine. Rather, A.B. 32 directly regulates only “person[s] . . . operat[ing] a private
16   detention facility within the state,” Cal. Penal Code § 9501, meaning that the legal
17   incidence of A.B. 32 falls only on government contractors, and Plaintiffs have failed to
18   show that those contractors are so closely connected to the Federal Government as to be
19   instrumentalities of the United States.
20                2.     Discriminatory Regulation
21         “[I]ntergovernmental immunity attaches only to state laws that discriminate against
22   the federal government and burden it in some way.” California, 921 F.3d at 880 (emphasis
23   added); see also id. at 881 (“Since the advent of the doctrine, intergovernmental immunity
24   has attached where a state’s discrimination negatively affected federal activities in some
25   way.”). “[A] state ‘does not discriminate against the Federal Government and those with
26   whom it deals unless it treats someone else better than it treats them.’” Id. at 881 (quoting
27   Washington v. United States, 460 U.S. 536, 544–45 (1983)). The Ninth Circuit also has
28   clarified that there is no de minimis exception to intergovernmental immunity; rather,

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1    “[a]ny economic burden that is discriminatorily imposed on the federal government is
2    unlawful.” Id. at 883–84 (emphasis in original); see also Tr. at 46:3–5. Even if a state law
3    does discriminate against and burden the Federal Government, it may nonetheless survive
4    if that burden is “justified by[] ‘significant differences between the two classes.’” Davis v.
5    Mich. Dep’t of Treasury, 489 U.S. 803, 816 (1989) (quoting Phillips Chem. Co. v. Dumas
6    Indep. Sch. Dist., 361 U.S. 376, 383–385 (1960)). Consequently, Plaintiffs must clear two
7    hurdles with respect to intergovernmental immunity, showing that (1) A.B. 32
8    discriminates against the Federal Government (or its contractors) by treating somebody
9    similarly situated better, and (2) that discrimination in some way burdens the Federal
10   Government (or its contractors). See, e.g., California, 821 F.3d at 881 (“Since the advent
11   of the doctrine, intergovernmental immunity has attached where a state’s discrimination
12   negatively affected federal activities in some way.”).
13                       a.    Discrimination
14         The Court must first determine whether A.B. 32 discriminates against the United
15   States and its contractors, i.e., whether A.B. 32 “treats someone else better than it treats
16   them.” California, 821 F.3d at 881 (quoting Washington, 460 U.S. at 544–45). Although
17   A.B. 32 applies to CDCR and “person[s] . . . operat[ing] . . . private detention facility[ies]
18   within the state,” see Cal. Penal Code §§ 5003.1, 9501, Plaintiffs allege that the various
19   exceptions contained in Sections 5003.1(e), 9502, 9503, and 9505(b) discriminate against
20   them to the benefit of California and its contractors. See, e.g., GEO Compl. ¶¶ 121, 123;
21   U.S. Compl. ¶ 68.
22         Before delving into the merits of the Parties’ arguments, the Court must address two
23   preliminary considerations. Initially, the Court rejects the United States’ argument that
24   “the sole regulation of governmental actors itself renders A.B. 32 constitutionally infirm.”
25   U.S. Opp’n at 8 (citing Travis v. Reno, 163 F.3d 1000, 1002 (7th Cir. 1998); United States
26   v. Kernen Constr., 349 F. Supp. 3d 988, 994 (E.D. Cal. 2018)). Not only is neither authority
27   binding on this Court, but the rationale on which those cases relied does not apply here. In
28   Kernen Construction, for example, the district court concluded that the underlying statute

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1    still discriminated against the Federal Government, even though it “applie[d] to all public
2    agencies, state and federal.” 349 F. Supp. 3d at 993. The court reasoned that “it is
3    important that burdens also fall on private parties to ensure that there is a broad state
4    constituency that can provide a political check against the abuse of a state’s regulatory
5    authority.” See id. at 944 (citing Fresno Cty., 429 U.S. at 463; United States v. Lewis Cty.,
6    175 F.3d 671, 676 (9th Cir. 1999)). This is so because “the federal government does not
7    have a direct voice in state legislatures, [so] states can unfairly burden its operations by
8    subjecting it to disparate treatment.” Id. (citing Washington, 460 U.S. at 545). That
9    reasoning does not apply here for several reasons.
10         First, there are private parties that may provide a political check here. Although
11   GEO and other private detention facility operators are government contractors, they also
12   are private parties. There are also a significant number of California residents employed
13   by these private detention facilities that “can provide a political check against the abuse of
14   a state’s regulatory authority.” See id.
15         Second, the authorities on which Kernen Construction relied were largely tax cases,
16   in which the state government profits by imposing a discriminatory tax on the Federal
17   Government. See, e.g., Fresno Cty., 429 U.S. at 453, 455–56, 467–68 (upholding property
18   tax on possessory interests of improvements on tax-exempt land imposed on Forest Service
19   employees living in federally owned houses located in national forests); Lewis Cty., 175
20   F.3d at 673, 675–76 (upholding tax on farm property owned by the federal Farm Service
21   Agency). In such circumstances, when a tax is applied to the state’s constituents as well
22   as the Federal Government (or its contractors), the interest of the state’s constituents will
23   provide a “check” on the unrepresented interest of the Federal Government. See, e.g.,
24   Lewis Cty., 175 F.3d at 675–76. Here, by contrast, the profit motive is lacking—there is
25   no allegation that California profits from the closure of the Federal Government’s private
26   detention facilities in California; rather, the Assembly Committee on Appropriations
27   estimated that A.B. 32 would “[i]ncrease[] annual operating costs in the hundreds of
28   millions of dollars.” See Defs.’ RJNs Ex. 2 at 1.

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1          Third and finally, as Defendants note, see MTD Reply at 4; MJP Reply at 4, this is
2    an area in which there can be no burden imposed on non-government contractors given that
3    there simply are no truly private actors that legally can detain others in detention facilities.
4    Consequently, it is appropriate for the Court to consider whether A.B. 32 treats California
5    and its contractors better than the Federal Government and its contractors. See, e.g., South
6    Carolina, 485 U.S. at 527 (concluding that federal law was nondiscriminatory and did not
7    violate intergovernmental immunity where “the Federal Government has directly imposed
8    the same registration requirement on itself that it has effectively imposed on States”).
9          This brings the Court to the second preliminary consideration: Although GEO urges
10   that “the discriminatory effect of a state statute is analyzed by looking at the statutory
11   scheme as a whole, not by examining each exception in isolation,” GEO Opp’n at 9
12   (emphasis in original) (citing Dawson v. Steager, 586 U.S. ___, 139 S. Ct. 698, 705 (2019);
13   Washington, 460 U.S. at 541–46), that rule is not absolute. “Where, as here, the statute
14   contains a series of exemptions, some of which favor the federal government, others of
15   which favor the state, most of which are unconcerned with the federal/state distinction, [the
16   Court should] focus on the individual exemption to determine whether each taken on its
17   own terms discriminates between state and federal interests to the detriment of the federal
18   government.” Nye Cty. II, 178 F.3d at 1088. GEO urges that Nye County II is inapplicable
19   because “none of AB-32’s exceptions discriminate in favor of the Federal Government
20   over the State.” GEO Opp’n at 10 (emphasis in original). Certain provisions of A.B. 32,
21   however, apply only to CDCR, such as Section 5003.1, which, among other things,
22   prohibits CDCR from “enter[ing] into a contract with a private, for-profit prison facility
23   located in or outside of the state to provide housing for state prison inmates.” Cal. Penal
24   Code § 5003.1(a) (emphasis added). These provisions, which are more restrictive than
25   those imposed on Plaintiffs, would favor the Federal Government under Plaintiffs’ logic.
26   Other provisions, as discussed below, are facially neutral.
27         The Court therefore concludes that Nye County II applies here. Accordingly, the
28   Court analyzes each of the three groups of exceptions in A.B. 32 that Plaintiffs contend

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1    discriminate in favor of California and its contractors: (1) the Section 9502 exceptions,
2    (2) the Section 9503 exception, and (3) the Sections 5003.1(e) and 9505(b) exception.
3                              i.    The Section 9502 Exceptions
4          Section 9502 exempts seven specific types of facilities from the blanket ban on
5    operating private detention facilities found in Section 9501, namely:
6                 (a)   Any facility providing rehabilitative, counseling,
                        treatment, mental health, educational, or medical services
7
                        to a juvenile that is under the jurisdiction of the juvenile
8                       court pursuant to Part 1 (commencing with Section 100)
                        of Division 2 of the Welfare and Institutions Code.
9
10                (b)   Any facility providing evaluation or treatment services to
                        a person who has been detained, or is subject to an order
11
                        of commitment by a court, pursuant to Section 1026, or
12                      pursuant to Division 5 (commencing with Section 5000)
                        or Division 6 (commencing with Section 6000) of the
13
                        Welfare and Institutions Code.
14
                  (c)   Any facility providing educational, vocational, medical, or
15
                        other ancillary services to an inmate in the custody of, and
16                      under the direct supervision of, the Department of
                        Corrections and Rehabilitation or a county sheriff or other
17
                        law enforcement agency.
18
                  (d)   A residential care facility licensed pursuant to Division 2
19
                        (commencing with Section 1200) of the Health and Safety
20                      Code.
21
                  (e)   Any school facility used for the disciplinary detention of a
22                      pupil.
23
                  (f)   Any facility used for the quarantine or isolation of persons
24                      for public health reasons pursuant to Division 105
                        (commencing with Section 120100) of the Health and
25
                        Safety Code.
26
                  (g)   Any facility used for the temporary detention of a person
27
                        detained or arrested by a merchant, private security guard,
28                      or other private person pursuant to Section 490.5 or 837.

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1    Cal. Penal Code § 9502.
2          GEO argues that “Subsections 9502(a)–(b) and 9502(d)–(f) describe detention
3    activity that is only carried out by the State, specifically referencing parts of the California
4    Code under which the activity is being carried out.” GEO Mot. at 27. The United States
5    similarly contends that five of the exceptions—those contained in subsections 9502(a)–(b),
6    (d), and (f)–(g)—“apply to [California’s] own contracts but are facially inapplicable to the
7    Federal Government’s contracts.” U.S. Mot. at 20. Further, “of the [two] exceptions that
8    might conceivably apply to the United States’ contracts, the Federal Government cannot
9    currently use any of them” because “[t]he Federal Government does not contract, and has
10   never contracted, with ‘school facilit[ies] used for the disciplinary detention of a pupil’ in
11   California” and “also does not contract for facilities in California ‘providing educational,
12   vocational, medical, or other ancillary services to an inmate in the custody of, and under
13   the direct supervision of’ a federal ‘law enforcement agency.’” U.S. Mot. at 20–21
14   (quoting Cal. Penal Code §§ 9502(c), (e)).
15         Defendants counter that, even if certain of these exceptions describe only state
16   detention facilities, “such a situation does not amount to discrimination resulting from AB
17   32” because “[i]t simply reflects the reality that ‘there are no federal contractors analogous
18   to the state contractors who benefit from’ these exceptions.” MTD at 10–11 (quoting Nye
19   Cty. II, 178 F.3d at 1088); MJP at 12 (quoting Nye Cty. II, 178 F.3d at 1088). Further, the
20   private detention facilities banned by Section 9501 “are quite different than the facilities
21   covered by the [the Section 9502] exceptions,” MTD at 12; MJP at 12, which do not give
22   rise to the same health and safety concerns as immigration and criminal detention facilities,
23   see MTD Reply at 4 (citing Cal. Penal Code §§ 9502(a)–(g)); MJP Reply at 4 (citing Cal.
24   Penal Code §§ 9502(a)–(g)), rendering “[a]ny disparate treatment . . . justified.” MTD at
25   12 (citing Davis, 489 U.S. at 815–16); MJP at 12 (citing Davis, 489 U.S. at 815–16).
26         To the extent that neither GEO nor the United States operates any of the facilities
27   enumerated in the Section 9502 exception, the Court concludes that they are not similarly
28   situated to California and, consequently, that the exception does not discriminate against

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1    the Federal Government and its contractors. This leaves only one of the Section 9502
2    exceptions: the exception appearing in subsection (c), exempting “[a]ny facility providing
3    educational, vocational, medical, or other ancillary services to an inmate in the custody of,
4    and under the direct supervision of, the Department of Corrections and Rehabilitation or a
5    county sheriff or other law enforcement agency.” See Cal. Penal Code § 9502(c). But as
6    explained above, see supra Section II.A, the Court concludes that it lacks jurisdiction over
7    the United States’ challenges to A.B. 32 to the extent they relate to the BOP’s RRCs.
8    Accordingly, based on the current record,20 the Court concludes that the Section 9502
9    exceptions do not impermissibly discriminate against the Federal Government.
10                                  ii.     The Section 9503 Exception
11          Section 9503 exempts from the general provision in Section 9501 facilities that are
12   privately owned but leased and operated by “law enforcement agenc[ies]”: “Section 9501
13   does not apply to any privately owned property or facility that is leased and operated by
14   the Department of Corrections and Rehabilitation or a county sheriff or other law
15   enforcement agency.” Cal. Penal Code § 9503. The United States argues that no “federal
16   law enforcement agency ‘lease[s] and operate[s]’ a detention facility in California that is
17   ‘privately owned.’” U.S. Mot. at 21 (quoting Cal. Penal Code § 9503). Further, “the only
18   facility in the State that would currently meet this exception is the California City
19   Correctional Center, which is owned by a private company and conveniently ‘leased and
20   operated’ by [CDCR].” Id.
21          Although the United States currently does not operate any facilities falling under the
22   exception in Section 9503, nothing in the text of Section 9503 prohibits the United States
23   from operating such facilities in the future. See also Tr. at 44:24–45:3 (conceding that
24
25
     20
       The Parties have reported that they “are in communications about submitting a written stipulation to the
26   Court related to the RRCs,” Defs.’ Add’l Br. at 11 n.8; however, no such stipulation has been filed as of
     the date of this Order. The Court notes, however, that if California were to enforce A.B. 32 against the
27   Federal Government’s RRCs but not the facilities in its own Alternative Custody Program, it would appear
28   that California is treating itself and its contractors better than the Federal Government and its contractors,
     which would be constitutionally impermissible.

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1    USMS, BOP, and ICE are all “law enforcement agenc[ies]” for purposes of Section 9503).
2    Because Section 9503 does not treat California better than the United States, the Court
3    concludes that Section 9503 does not render A.B. 32 discriminatory in violation of
4    intergovernmental immunity.
5                                   iii.   The Sections 5003.1(e) and 9505(b) Exception
6           Section 9505(b) provides that the general rule against those operating private
7    detention facilities appearing in “Section 9501 does not apply to . . . [a] private detention
8    facility contract renewed pursuant to subdivision (e) of Section 5003.1.” Cal. Penal Code
9    § 9505(b). Section 5003.1, in turn, provides that “[CDCR] may renew or extend a contract
10   with a private, for-profit prison facility to provide housing for state prison inmates in order
11   to comply with the requirements of any court-ordered population cap.” Cal. Penal Code
12   § 5003.1(e).
13          GEO maintains that “the exception contained in Section 9505(b) applies only to
14   private detention facilities under contract with [CDCR].” GEO Mot. at 27. The United
15   States similarly contends that “no comparable exception exists for the Federal Government
16   to cope with overcrowding in its facilities under a court order or otherwise,” meaning
17   “California has plainly ‘treat[ed] someone else better than it treats’ the United States and
18   its contractors.” U.S. Mot. at 19 (quoting Washington, 460 U.S. at 544–45) (emphasis in
19   original).
20          Defendants respond that the provisions in question do “not create an exception
21   generally related to overcrowding in California’s prisons,” but rather “accommodate[]
22   compliance with a particular court order currently in place” setting “a population cap of
23   137.5% of design capacity,” which “is an ongoing obligation of [CDCR].” MJP at 13
24   (citing Brown, 563 U.S. at 53921); MTD at 13 (citing Brown, 563 U.S. at 539). On the
25
26   21
       The Court may sua sponte take judicial notice of the population cap imposed by Brown v. Plata. See,
     e.g., Reyn’s Pasta Bella, LLC v. Visa USA, Inc. 442 F.3d 741, 746 n.6 (9th Cir. 2006); United States ex
27   rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (a court may
28   take judicial notice “of proceedings in other courts, both within and without the federal judicial system, if
     those proceedings have a direct relation to matters at issue”).

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1    other hand, “[n]either the federal government nor local governments are subject to similar
2    litigation,” meaning “California [is] not similarly situated to the federal government or
3    local governments.” MJP at 13 (citing Davis, 489 U.S. at 815–16); MTD at 13 (citing
4    Davis, 489 U.S. at 815–16). Further, “[t]he provision in AB 32 is a temporary bridge that
5    enables California to comply with an existing federal court order while it transitions its
6    inmate population away from private operators, not a permanent, discriminatory loophole
7    for California.” MJP at 14; MTD at 14.
8          The Court concludes that CDCR and its contractors are not similarly situated to the
9    Federal Government and its contractors, given that the former must comply with a court-
10   ordered population cap while the latter do not. As for GEO’s argument concerning the
11   nature of the two classes, see GEO Opp’n at 11, the Supreme Court explained in Dawson
12   that “[w]hether a State treats similarly situated state and federal employees differently
13   depends on how the State has defined the favored class.” See 139 S. Ct. at 705 (citing
14   Davis, 489 U.S. at 817). The favored class for purposes of the Section 9505(b) exception,
15   however, explicitly is defined as CDCR to the extent that it would violate a court-ordered
16   population cap. See Cal. Penal Code §§ 5003.1(e), 9505(b). This serves to distinguish the
17   instant cases from Dawson and Davis, in which the defendant attempted to justify the
18   discrimination based on an implicit distinction between the classes not expressed in the
19   statute. See, e.g., Dawson, 139 S. Ct. at 706 (state could not claim that discrimination
20   between taxation of state and federal pensions was based on generosity of pensions where
21   statute defined favored class on basis of job responsibilities); Davis, 489 U.S. at 816–17
22   (state did not demonstrate significant differences between classes where statute provided
23   for different tax treatment based on source of income, not its amount). Because this
24   distinction is explicit in the particular exception to A.B. 32 that Plaintiffs challenge, the
25   Court may consider whether the existence (or absence) of a court-ordered population cap
26   is a significant difference between CDCR, on the one hand, and local and Federal law
27   enforcement agencies, on the other.
28   ///

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1           The Court concludes that this is a significant difference between the two classes that
2    renders them not similarly situated for purposes of intergovernmental immunity. Neither
3    the United States nor GEO has identified any court-ordered population cap affecting their
4    detention facilities, whether operated for USMS, BOP, or ICE, within the State of
5    California. While the United States speculates that “A.B. 32 may cause overcrowding in
6    federal facilities both in California and neighboring States,”22 see U.S. Mot. at 19, that is
7    not relevant to the distinction drawn between the two classes by A.B. 32. The relevant
8    difference is that California has been ordered by a court not to exceed 137.5% of design
9    capacity, whereas the Federal Government has not. See Brown, 563 U.S. at 539. Should
10   the Federal Government face a court-ordered population cap in the future, it may find itself
11   similarly situated to California and seek to renew its challenge.
12          To the extent the United States contends that “A.B. 32 may also cause tension with
13   ICE’s other obligations under existing court orders and settlements,” see U.S. Mot. at 38
14   n.20 (citing Gonzalez, 325 F.R.D. 616; Franco-Gonzalez, 2013 WL 8115423), none of
15   these cases involve population caps. In Gonzalez, the district court preliminarily enjoined
16   the Federal Government “from detaining Plaintiffs and the class members pursuant to [8
17   U.S.C. §] 1231(a)(6) for more than 180 days without [] providing each a bond hearing
18   before an [immigration judge] as required by Diouf[ v. Napolitano, 634 F.3d 1081 (9th Cir.
19   2011)].” 325 F.R.D. at 629. In Franco-Gonzalez, the district court enjoined the Federal
20   Government from (1) pursuing immigration proceedings against immigration detainees
21   with serious mental disorders who are facing deportation and are unable adequately to
22   represent themselves, unless those detainees are appointed a qualified representative; and
23   (2) holding immigration detainees with serious mental disorders for more than 180 days
24   without providing “a bond hearing before an Immigration Judge with the authority to order
25
26
     22
       Indeed, it appears that California and the Federal Government may be similarly situated in this regard,
27   as the Assembly Committee on Appropriations noted that California would need “to absorb approximately
28   4,252 inmates currently held in four private, for-profit facilities both in California and Arizona.” Defs.’
     RJNs Ex. 2 at 1.

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1    their release on conditions of supervision, unless the Government shows by clear and
2    convincing evidence that [their] ongoing detention is justified.” 2013 WL 8115423, at *1–
3    2.   The United States also notes that “the permanent injunction issued in Orantes-
4    Hernandez . . . prohibits ICE from transferring unrepresented Salvadorian nationals from
5    their district of apprehension for at least seven days.” U.S. Mot. at 38 n.20. Because none
6    of these cases have imposed a population cap on the Federal Government’s ICE detention
7    facilities, however, they are not material to the issue before the Court.
8          In light of the foregoing, the Court concludes that, although A.B. 32’s exception in
9    Sections 5003.1(e) and 9505(b) does treat CDCR differently than Federal or local law
10   enforcement agencies, it does not discriminate because CDCR is not similarly situated to
11   the extent that it is subject to a court-ordered population cap. Accordingly, that particular
12   exception does not violate the Federal Government’s intergovernmental immunity.
13                        b.   Burden
14         Whether California has discriminated against the Federal Government and its
15   contractors is not the end of the inquiry, however, because Plaintiffs must also demonstrate
16   that they would be burdened as a result of the discrimination. See, e.g., California, 921
17   F.3d at 880; see also Tr. at 24:25–25:12, 36:6–13, 45:18–46:6. GEO alleges that, “if AB-
18   32 forces GEO to close its USMS and ICE detention facilities in California, GEO could
19   lose over $4 billion in capital investment and future revenue over the next fifteen years.”
20   GEO Compl. ¶ 110. The United States contends that A.B. 32 would require it to transfer
21   1,300 inmates housed at Taft, 900 inmates housed in RRCs, 50 percent of USMS inmates
22   in this District, 30 percent of USMS inmates in California, and nearly all of ICE’s detainees
23   in California, all of which would cost significant taxpayer dollars. U.S. Compl. ¶¶ 32–33,
24   36, 42, 49, 57–58.
25         These are real and substantial burdens; however, to the extent that the Federal
26   Government and its contractors are not similarly situated and therefore face no
27   discrimination under A.B. 32, see supra Section II.C.2.a, they cannot establish the requisite
28   causal connection to the burden. For example, the relocation of ICE detainees is not the

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1    result of the Federal Government and its contractors not being able to use the exemption in
2    Sections 5003.1(e) and 9505(b). Like California, GEO and the United States have to
3    relocate their privately detained prisoners to the extent that they are not exempted by a
4    population cap (which, according to GEO’s Complaint, California cannot currently use,
5    see GEO Compl. ¶ 27). In other words, the relocation is happening as a result of the
6    generally applicable prohibition appearing in Section 9501, not as a result of the challenged
7    exceptions.23 The Court therefore concludes that Plaintiffs have failed to establish the
8    requisite causal connection between any alleged discrimination and the resultant burden.
9    III.   Conclusion
10          In light of the foregoing, the Court GRANTS IN PART AND DENIES IN PART
11   Defendants’ Motions to Dismiss and for Judgment on the Pleadings.                          Specifically,
12   regarding the Motion to Dismiss, the Court DISMISSES GEO’s first and second causes
13   of action for intergovernmental immunity and GEO’s third cause of action for obstacle
14   preemption as to GEO’s contracts with ICE. As for the Motion for Judgment on the
15   Pleadings, the Court DISMISSES the United States’ first and second causes of action as
16   they relate to BOP facilities for lack of subject-matter jurisdiction. Additionally, the Court
17   DISMISSES the United States’ first cause of action to the extent it is predicated on field
18   preemption and to the extent that it claims obstacle preemption as to its contracts for private
19   detention facilities on behalf of BOP and ICE. Finally, the Court DISMISSES the United
20   States’ second cause of action for intergovernmental immunity in its entirety. In all
21   remaining respects, Defendants’ Motions to Dismiss and for Judgment on the Pleadings
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25   23
       The one exception would be for BOP’s RRCs with regard to Section 9502(c). Although the Court has
     concluded that the United States has failed to allege a justiciable controversy as to A.B. 32’s application
26   to its BOP facilities, including the RRCs, see supra Section II.A, Section 9502(c) likely discriminates
     against the RRCs. See supra note 20. This discrimination also would directly result in the United States
27   having to relocate the 900 inmates in that program. See U.S. Compl. ¶¶ 42, 49. Consequently, although
28   not yet ripe for adjudication, the Section 9502(c) exception would appear unconstitutionally to violate the
     Federal Government’s intergovernmental immunity if enforced against the RRCs.

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1    are DENIED. Any dismissals are WITHOUT PREJUDICE so that Plaintiffs may file
2    amended complaints addressing the deficiencies outlined above.
3                       MOTIONS FOR PRELIMINARY INJUNCTION
4    I.    Legal Standard
5          A preliminary injunction is an equitable remedy aimed at preserving the status quo
6    and preventing the occurrence of irreparable harm during the course of litigation. See Fed.
7    R. Civ. P. 65. “A plaintiff seeking a preliminary injunction must establish that he is likely
8    to succeed on the merits, that he is likely to suffer irreparable harm in the absence of
9    preliminary relief, that the balance of equities tips in his favor, and that an injunction is in
10   the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
11   A preliminary injunction is an “extraordinary remedy that may only be awarded upon a
12   clear showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22.
13   II.   Analysis
14         Both GEO and the United States request that the Court preliminarily enjoin
15   Defendants from enforcing A.B. 32 against their privately operated facilities within the
16   State of California. See, e.g., GEO Compl. ¶ 145(b); U.S. Compl. ¶ 71; see also GEO Mot.
17   at 40–41; U.S. Mot. at 43.
18         A.     Likelihood of Success on the Merits
19         Because the Court concludes that both GEO and the United States have failed to
20   state a plausible claim for relief as to the BOP’s privately operated detention facilities,
21   obstacle preemption as to BOP and ICE, field preemption, or intergovernmental immunity,
22   see generally supra pages 21–69, the Court concludes that they are unlikely to succeed on
23   the merits as to those claims. Accordingly, the Court DENIES the Motions for
24   Preliminary Injunction as to those causes of action. See, e.g., Sports Form, Inc. v. United
25   Press Int’l, Inc., 686 F.2d 750, 753 (9th Cir. 1982). The Court therefore analyzes only (1)
26   the constitutionality of A.B. 32 as applied solely to USMS’s privately contracted facilities,
27   and (2) GEO’s request that the Court enjoin Defendants from enforcing A.B. 32 against
28   their facilities through the end of their contractual terms.

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1                   1.     USMS
2           For the reasons discussed above, see supra pages 35–37, 40, the Court concludes
3    that both GEO and the United States have demonstrated a likelihood of succeeding on the
4    merits of their claim that A.B. 32 is obstacle preempted as applied to USMS’s contracts
5    with privately operated detention facilities.
6                   2.     Applicability of Safe Harbor Through End of GEO’s Contractual
                           Terms
7
8           Section 9505(a) provides that “Section 9501 does not apply to . . . [a] private
9    detention facility that is operating pursuant to a valid contract with a governmental entity
10   that was in effect before January 1, 2020, for the duration of that contract, not to include
11   any extensions made to or authorized by that contract.” Cal. Penal Code § 9505(a). GEO
12   alleges that this provision exempts its current contracts—entered into before January 1,
13   2020—from Section 9501 through their full periods of performance, including any option
14   extensions.24 See GEO Compl. ¶¶ 135–44. GEO therefore requests that the Court enjoin
15   Defendants from enforcing A.B. 32 against those contracts for their full periods of
16   performance. See id. ¶¶ 145(c)–(e); see also GEO Mot. at 40–41.
17          As an initial matter, the Procurement Amici urge the Court to “decline to exercise
18   jurisdiction” because “[t]he validity of the contracts in dispute is subject to the Contract
19   Disputes Act of 1978, and thus any relief with respect to these contracts must be obtained
20   through that statute, or alternatively through the United States Court of Federal Claims.”
21   Procurement Amici Br. at 22 (citing 41 U.S.C. §§ 7101–7109). Because the Court “has an
22   independent obligation to address sua sponte whether [it] ha[s] subject matter jurisdiction,”
23
24   24
       Specifically, GEO’s WRDF contract with USMS currently extends through September 30, 2021, with
25   options extending through September 30, 2027. See GEO Compl. ¶¶ 44–45. The base period for GEO’s
     El Centro contract with USMS ends on December 22, 2021, with options extending through September
26   25, 2028. Id. ¶ 53. Finally, GEO’s contracts with ICE for Adelanto, Desert View, Mesa Verde, Central
     Valley, and Golden State have option periods beginning December 20, 2024, with periods of performance
27   through December 19, 2034. Id. ¶¶ 77–78, 80–81, 88, 92, 97. GEO therefore seeks to have the Court
28   declare that A.B. 32 does not apply to its WRDF contract until September 30, 2027, its El Centro contract
     until September 25, 2028, and its ICE contracts until December 19, 2034. See id. ¶¶ 135–44, 145(c)–(e).

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1    Allstate Ins. Co. v. Hughes, 358 F.3d 1089, 1093 (9th Cir. 2004) (citing Dittman v.
2    California, 191 F.3d 1020, 1025 (9th Cir. 1999)), the Court may properly address a
3    jurisdictional question first raised by amici. See, e.g., Swan v. Peterson, 6 F.3d 1373, 1383
4    (9th Cir. 1993) (citing Miller-Wohl Co. v. Comm’r of Labor & Indus., 694 F.2d 203, 204
5    (9th Cir. 1982)); see also Tr. at 31:6–23.
6          The Court therefore requested additional briefing as to its jurisdiction over GEO’s
7    fourth cause of action following the hearing. See GEO ECF No. 45 at 1–2. The Parties all
8    agreed that the Court has jurisdiction. See GEO Add’l Br. at 10–11; Defs.’ Add’l Br. at
9    13. The Court continues to harbor some doubts—although styled as a claim against the
10   State of California, GEO’s fourth cause of action, at heart, seeks a “declaration of contract
11   rights against the government,” over which the Court would lack jurisdiction. See N. Side
12   Lumber Co. v. Block, 753 F.2d 1482, 1485–86 (9th Cir. 1985).
13         Regardless, the Court determines that GEO’s Motion must be denied as to its fourth
14   cause of action because, assuming it has jurisdiction, the Court nonetheless concludes that
15   GEO cannot demonstrate the requisite likelihood of success on the merits. Section 9505(a)
16   explicitly excludes “any extensions made to or authorized by that contract.” See Cal. Penal
17   Code § 9505(a). It appears unlikely that GEO will succeed in arguing that the options are
18   not such extensions. Accordingly, the Court concludes that GEO is unlikely to succeed on
19   the merits of its safe harbor cause of action. The Court’s analysis therefore proceeds only
20   as to A.B. 32’s enforcement against USMS’s privately contracted facilities.
21         B.     Likelihood of Irreparable Harm
22         Plaintiffs must make a clear showing that irreparable harm will occur absent
23   the preliminary injunction. This clear showing requires a plaintiff to prove more than a
24   mere “possibility” of irreparable harm; instead, she must “demonstrate that irreparable
25   injury is likely in the absence of an injunction.” Am. Trucking Ass’ns, Inc. v. City of Los
26   Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009). “[E]conomic injury alone does not support
27   a finding of irreparable harm, because such injury can be remedied by a damage
28   award.” Rent-A-Ctr., Inc. v. Canyon Television & Appliance Rental, Inc., 944 F.2d 597,

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1    603 (9th Cir. 1991).
2          GEO contends that it would suffer irreparable harm if forced to close its facilities
3    during this litigation, because “constitutional violations cannot be adequately remedied
4    through damages,” GEO Mot. at 38 (quoting Nelson v. Nat’l Aeronautics & Space Admin.,
5    530 F.3d 865, 882 (9th Cir. 2008), rev’d on other grounds, 562 U.S. 134 (2011)), and GEO
6    “may not pursue a damages suit in federal court against the State of California” because of
7    California’s sovereign immunity. Id. at 38–39 (citing U.S. CONST. amend. XI; Kentucky
8    v. Graham, 473 U.S. 159, 169 (1985)).           The United States similarly contends that
9    “irreparable harm necessarily results from the enforcement of a preempted state law.” U.S.
10   Mot. at 36–37 (citing New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491 U.S.
11   350, 366-67 (1989); Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013);
12   Arizona, 641 F.3d at 366), and that, “[a]s a result of this unconstitutional law, the United
13   States and the public will suffer three principal harms: (1) costly relocation of prisoners
14   and detainees and attendant consequences, (2) frequent and costly transport of prisoners
15   and detainees, and (3) obstruction of federal proceedings,” which “could cripple federal
16   law enforcement operations in California.” Id. at 37. Defendants respond that Plaintiffs
17   are not threatened by imminent harm such that a preliminary injunction is necessary,
18   because GEO’s USMS contracts do not expire until September 30, 2021, at the earliest.
19   See Opp’n to GEO Mot. at 22; Opp’n to U.S. Mot. at 31. The United States rejoins that,
20   “despite contracts ‘expiring’ in 2021, USMS must immediately begin planning for A.B.
21   32’s deleterious effects.” U.S. Opp’n at 29.
22         Defendants do not contest the irreparability of the harm Plaintiffs may suffer. In
23   addition to the irreparable harm caused by the likely violation of the Supremacy Clause
24   should A.B. 32 be enforced against USMS’s privately operated detention facilities, see,
25   e.g., California, 921 F.3d at 893 (collecting authorities), it appears that the United States
26   and GEO may face further imminent, irreparable injury in the form of disrupted operations
27   and the incurrence of incompensable damages, respectively. Accordingly, the Court
28   ///

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1    concludes that this factor weighs in favor of preliminarily enjoining enforcement of A.B.
2    32 against USMS’s privately operated detention facilities.
3          C.     Balance of Equities
4          “To qualify for injunctive relief, [a p]laintiff must establish that ‘the balance of the
5    equities tips in [its] favor.’” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1138 (9th Cir. 2009)
6    (quoting Winter, 555 U.S. at 20). A court has the “duty . . . to balance the interests of all
7    parties and weigh the damage to each.” L.A. Mem’l Coliseum Comm’n v. Nat’l Football
8    League, 634 F.2d 1197, 1203 (9th Cir. 1980).
9          GEO urges that, to the extent it has established that A.B. 32 is unconstitutional, “it
10   has ‘also established that . . . the balance of the equities favor a preliminary injunction.’”
11   GEO Mot. at 39 (quoting Az. Dream Act Coalition v. Brewer, 757 F.3d 1053, 1069 (9th
12   Cir. 2014)). The United States similarly urges that “California ‘cannot suffer harm from
13   an injunction that merely ends an unlawful practice,’” U.S. Mot. at 42 (citing Rodriguez v.
14   Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)), and “California is free to implement A.B.
15   32 for itself and its localities.” Id. Defendants counter that “a preliminary injunction
16   enjoining the enforcement of AB 32 would lead to significant, concrete harm to the public,”
17   because “[t]he California Legislature determined (and the federal government has
18   recognized) that private prisons are a critical, ongoing public policy concern and that
19   conditions in private facilities pose a threat to detainee safety.” Opp’n to GEO Mot. at 22;
20   Opp’n to U.S. Mot. at 32.
21         The Court recognizes that California has a legitimate interest in safeguarding the
22   health and safety of USMS detainees within its borders, see California, 921 F.3d at 886;
23   however, given the Court’s conclusion that A.B. 32 is obstacle preempted with respect to
24   privately operated USMS detention facilities, see supra pages 35–37, 40, the Court
25   ultimately concludes that the equities tip in favor of Plaintiffs.
26         D.     Public Interest
27         Finally, “[i]n exercising their sound discretion, courts of equity should pay particular
28   regard for the public consequences in employing the extraordinary remedy of

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1    injunction.” Winter, 555 U.S. at 24. GEO contends that it has established that the public
2    interest favors a preliminary injunction for the same reasons that it has established that the
3    equities favor issuing an injunction, see GEO Mot. at 39–40; see also supra Section II.C,
4    while the United States contends that it has established this factor because the United States
5    will suffer irreparable harm “because the Government represents the public interest.” U.S.
6    Mot. at 36 (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). Defendants also reiterate
7    their arguments concerning the balance of the equities in support of the public interest. See
8    Opp’n to GEO Mot. at 22–23; Opp’n to U.S. Mot. at 32–33; see also supra Section II.C.
9    For the reasons discussed above, see supra Sections II.B–C, the Court concludes that the
10   public interest also favors issuance of a preliminary injunction.
11          E.     Permanent Injunction
12          Relying on Baby Tam & Company v. City of Las Vegas, 154 F.3d 1097, 1102 (9th
13   Cir. 1998), abrogated on other grounds by Dream Palace v. County of Maricopa, 384 F.3d
14   990, 1002 (9th Cir. 2004), both GEO and the United States request that the Court enter
15   final judgment awarding a permanent injunction. See, e.g., GEO Mot. at 41; U.S. Mot. at
16   43. Although the Court may have the authority to issue a permanent injunction at this
17   stage, it declines to do so here, particularly given that several claims have been dismissed
18   and leave to amend has been granted.
19   III.   Conclusion
20          In light of the foregoing, the Court GRANTS IN PART AND DENIES IN PART
21   Plaintiffs’   Motions    for   Preliminary     Injunction.      Accordingly,     the    Court
22   PRELIMINARILY ENJOINS Defendants from enforcing A.B. 32 against the USMS’s
23   privately contracted detention facilities within the State of California. Plaintiffs’ Motions
24   are otherwise DENIED.
25                                         CONCLUSION
26          In light of the foregoing, the Court GRANTS IN PART AND DENIES IN PART
27   Defendants’ Motions to Dismiss (GEO ECF Nos. 20, 22) and for Judgment on the
28   Pleadings (U.S. ECF No. 13), as set forth above. See supra pages 68–69. Plaintiffs MAY

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1    FILE amended complaints within twenty-one (21) days of the electronic docketing of this
2    Order. Should Plaintiffs elect not to file amended complaints, this action will proceed on
3    their surviving causes of action.
4          The Court also GRANTS IN PART AND DENIES IN PART GEO’s and the
5    United States’ Motions for Preliminary Injunction (GEO ECF No. 15 and U.S. ECF No. 7,
6    respectively), as set forth above, see supra page 74, and PRELIMINARILY ENJOINS
7    Defendants from enforcing A.B. 32 against the USMS’s privately contracted detention
8    facilities within the State of California.
9          IT IS SO ORDERED.
10   Dated: October 8, 2020
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